              Case 24-00803-BPH                   Doc 1      Filed 12/02/24 Entered 12/02/24 17:11:57                               Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                       Chapter      11
                                                                                                                               Check if this an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SeaQuest Holdings, LLC

2.   All other names debtor       DBA SeaQuest Management, Inc.
     used in the last 8 years     DBA SeaQuest Folsom, LLC
                                  DBA SeaQuest Interactive Aquarium Las Vegas,
     Include any assumed
     names, trade names and       DBA SeaQuest Interactive Aquarium Utah, LLC
     doing business as names      DBA SeaQuest Woodbridge, LLC
                                  DBA SeaQuest Interactive Aquarium Fort Worth
                                  DBA SeaQuest Roseville, LLC
                                  DBA SeaQuest Trumbull, LLC
                                  DBA SeaQuest Littleton, LLC
                                  DBA SeaQuest Massaoequa, LLC
                                  DBA SeaQuest Fort Lauderdale, LLC
                                  DBA SeaQuest Seasonal, LLC

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                      Mailing address, if different from principal place of
                                                                                                   business

                                  5759 N Discovery Way
                                  Boise, ID 83713
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                  Ada                                                              Location of principal assets, if different from principal
                                  County                                                           place of business
                                                                                                   See attachment.
                                                                                                   Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://visitseaquest.com/


6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




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Debtor    SeaQuest Holdings, LLC                                                                        Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known



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Debtor   SeaQuest Holdings, LLC                                                                    Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other     Various exotic animals that require around the clock care
                                             Where is the property?           See attachment.
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency      Leavitt Group of Boise
                                                        Contact name          Briana Michels
                                                        Phone                 (208) 375-9199


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor   SeaQuest Holdings, LLC                                                                    Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        December 2, 2024
                                                  MM / DD / YYYY


                             X /s/       Aaron Neilsen                                                     Aaron Neilsen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    CEO




18. Signature of attorney    X /s/ Matthew Christensen                                                     Date    December 2, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Matthew Christensen
                                 Printed name

                                 Johnson May
                                 Firm name

                                 199 N. Capitol Blvd.
                                 Suite 200
                                 Boise, ID 83702
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (208) 384-8588               Email address      mtc@johnsonmaylaw.com

                                 7213 ID
                                 Bar number and State




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                               SeaQuest Locations
1201 N Hill Fiedl Rd. #1072, Layton, UT 84041
3528 S Maryland Pkwy, Suite #340, Las Vegas, NV o89169
430 Palladio Pkwy #1801, Folsom, CA 95630
1595 Highway 36 West, Suite 578, Roseville, MN 55113
101 Woodbridge Center Dr., Woodbridge, NJ 07095
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                                                                                                               SeaQuest Holdings, LLC
                                                                                                      001. SeaQuest Holdings, LLC (Consolidated)
                                                                                                            SeaQuest Income Statement



                                                           Jan-23           Feb-23           Mar-23           Apr-23        May 2023          Jun 2023         Jul 2023         Aug 2023        Sept 2023         Oct 2023        Nov 2023         Dec 2023              2023
Income
    4000 - Sales                                           $0.00           $0.00             $0.00            $0.00           $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
    4001 - Admissions                              $1,009,661.75     $981,674.56     $1,332,679.23    $1,069,690.25     $766,287.85      $965,940.64     $1,389,052.61     $968,075.10      $488,333.86      $449,022.49      $428,807.29      $497,783.65     $10,347,009.28
    4002 - Annual Memberships                        $115,829.76     $118,554.43       $121,945.37      $135,803.29     $142,721.36      $138,753.45       $147,676.35     $154,321.03      $147,595.56      $151,672.81      $154,825.37      $155,309.17      $1,685,007.95
    4002.1 - Monthly Memberships                          $16.79           $0.00             $0.00            $0.00           $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00             $16.79
    4003 - Token Sales                               $571,336.06     $565,556.05       $681,738.08      $543,272.55     $395,804.32      $502,026.25       $707,799.95     $476,170.99      $692,772.10      $471,174.90      $572,104.44      $490,974.73      $6,670,730.42
    4100 - Attractions
         4100 - Attractions                          $49,838.91       $84,605.97      $109,516.62        $76,703.11      $61,037.78       $86,663.93      $106,688.16       $99,421.44      $174,697.59       $24,058.15       $81,059.23       $64,887.90      $1,019,178.79
         4101 - Snorkel with Stingrays               $29,416.25       $28,335.14       $48,001.79        $36,658.20      $24,540.94       $33,825.97       $58,394.02       $43,514.38       $28,502.16       $20,715.86       $19,130.19       $12,395.01        $383,429.91
         4102 - Sleep with the Sharks                 $5,930.87        $6,852.47        $4,692.10        ($1,213.88)        $349.91        $1,513.39            $0.00            $0.00        $4,349.13       ($4,349.13)           $0.00       ($1,649.49)        $16,475.37
         4103 - Hurricane Simulator                   $3,250.00        $5,402.00        $5,932.00         $5,128.00       $3,948.00        $4,240.00        $4,046.00        $3,210.00        $3,954.00        $2,896.00        $3,026.00        $2,164.00         $47,196.00
         4104 - Penny Machine                           $712.48            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $712.48
         4105 - Foto Fantasy                         $23,906.99       $26,568.70       $32,340.17        $23,743.08      $17,419.80       $19,546.37       $27,165.11       $19,649.39       $28,675.26       $19,558.14       $20,164.46       $17,876.16        $276,613.63
         4107 - Go Pro Rental                         $1,063.10        $1,673.07        $2,267.21         $1,424.39       $1,221.92        $1,697.73        $2,613.07        $1,469.88        $1,095.66          $480.62          $495.97          $282.75         $15,785.37
         4108 - Fish Spa Session                     $12,176.84       $16,879.81       $22,319.42        $19,715.92      $16,092.81       $21,562.80       $26,944.44       $17,358.55       $16,659.32        $6,266.55        $7,775.27        $7,404.76        $191,156.49
         4109 - Otter Interaction                    $19,935.14       $15,074.09       $20,458.57        $15,737.49      $14,117.16       $17,864.91       $17,301.60       $13,799.23       $11,661.86        $7,717.58        $9,302.93        $8,933.37        $171,903.93
         4110 - Animal Whisperer Tour                     $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
         4112 - Sloth Interaction                    $28,917.64       $28,772.95       $46,556.12        $30,217.93      $24,956.98       $27,138.86       $31,309.88       $21,550.73       $16,379.25        $8,901.35       $13,534.89       $10,250.94        $288,487.52
         4113 - Kinkajou Interaction                    $916.56        $1,135.57        $3,832.14         $1,474.94       $1,500.78        $2,769.40        $2,870.09        $1,225.46        $1,006.89        $1,001.82          $541.44          $501.80         $18,776.89
         4116 - Coatimundi Interaction                  $384.68          $475.13          $730.67           $535.69         $369.85          $536.20          $872.14          $377.34          $542.28           $49.98           $50.97           $39.48          $4,964.41
         4117 - Porcupine Interaction                   $791.26        $1,239.30        $1,988.40         $1,215.87         $483.58          $710.66        $1,223.14          $662.85          $539.15          $327.91          $399.87          $258.25          $9,840.24
         4118 - Flying Squirrel Interaction           $3,174.98        $4,144.78        $4,516.99         $3,826.29       $2,394.19        $3,297.03        $5,442.65        $4,055.35        $2,084.69        $1,773.03        $2,136.05        $2,751.26         $39,597.29
         4119 - Wallaby Interaction                   $7,769.39        $6,435.55        $8,976.34         $6,337.70       $4,925.94        $6,033.03        $7,380.31        $4,553.55        $3,360.36        $1,898.29        $1,804.58        $2,157.05         $61,632.09
         4120 - FunQuest                                  $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
         4121 - EPICQuest                                 $0.00            $0.00       $56,056.25        $55,259.25      $63,692.28       $85,531.07       $87,409.60       $76,340.59       $61,913.26       $70,706.46       $75,944.06       $79,036.59        $711,889.41
    Total - 4100 - Attractions
    4200 - Gift Shop Sales                          $178,813.89      $209,829.32      $281,731.53       $238,149.02     $181,868.37      $215,153.75      $247,859.11      $193,496.46      $212,289.55      $138,128.76      $170,273.09      $146,039.13      $2,413,631.98
    4300 - Concession Sales                          $12,237.47       $11,247.66       $12,706.88        $11,669.09       $8,750.47        $9,511.34        $8,746.51        $8,189.00       $10,976.00        $4,699.89       $11,573.27        $6,718.87        $117,026.45
    4400 - Events
         4400 - Events                               $10,678.35        $2,367.62        $4,110.63         $9,227.31       $1,834.30          ($36.90)         ($19.35)           $0.00            $0.00            $0.00         $850.00         $3,168.92        $32,180.88
         4401 - Field Trips                          $27,078.99       $56,889.21       $86,399.73        $87,076.93      $68,860.80       $47,091.71       $43,549.71       $14,411.44        $9,635.93       $20,852.62       $21,701.09        $9,071.73       $492,619.89
         4402 - Birthday Parties                     $86,957.69       $87,261.17       $79,315.23        $72,690.82      $48,227.47       $44,847.77       $51,336.52       $42,784.28       $40,389.75       $52,819.31       $51,120.23       $27,894.17       $685,644.41
         4403 - Corporate Events                          $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00             $0.00
    Total - 4400 - Events
    4501 - Sponsorship Revenue                         $9,375.01        $9,375.01        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34        $8,333.34       $102,083.42
    4502 - Online Transaction Fee                          $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00          $762.00        $9,024.00       $11,588.00        $8,696.00        $30,070.00
    4600 - Groupon Sales                                   $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00             $0.00
    4700 - Discounts                                 ($81,864.72)     ($82,466.22)    ($137,927.48)    ($127,295.06)     ($89,201.56)    ($100,691.63)    ($116,433.30)    ($102,677.17)     ($39,687.34)     ($17,098.19)     ($28,011.10)     ($26,120.86)     ($949,474.63)
    4750 - Refunds                                    ($5,542.62)      ($6,688.47)      ($8,544.93)     ($11,264.75)      ($6,225.28)      ($9,207.71)      ($6,227.02)      ($4,749.15)      ($6,025.61)      ($3,110.99)      ($1,600.87)      ($1,214.47)      ($70,401.87)
    4900 - Miscellaneous Income
         4900 - Miscellaneous Income                       $0.00           $0.00             $0.00            $0.00            $0.00            $0.00            $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00
    6080 - Sublease Rent                                   $0.00           $0.00             $0.00            $0.00            $0.00            $0.00            $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.00
         4950 - Cash Over/(Under)                     ($1,609.64)      $2,096.92        ($2,025.71)       $2,327.38       ($1,867.63)       $4,294.60       ($3,924.19)        $129.70          $104.24        ($1,960.00)      $1,142.55        ($1,044.26)       ($2,336.04)
    6300 - Other Income - Miscellaneous Income             $0.00           $0.00             $0.00            $0.00            $0.01            $0.01            $0.00           $0.00            $0.00             $0.00           $0.00             $0.00             $0.02
    Total - 4900 - Miscellaneous Income
    5400 - Management Fees Income                     $20,672.22       $26,202.32       $31,076.01       $56,459.89       $36,688.85       $36,505.76       $37,062.11       $28,588.06       $28,862.11       $26,726.58       $29,371.81       $30,995.73       $389,211.45
    5451 - Service Fee Income                         $20,833.33       $20,833.33       $20,833.33       $41,666.66       $41,666.66       $33,333.33       $20,833.33       $20,833.33       $20,833.33       $20,833.33       $20,833.33       $20,833.33       $304,166.62
Total - Income                                     $2,162,659.42    $2,230,327.44    $2,880,556.03    $2,414,570.70    $1,840,801.25    $2,208,787.06    $2,915,305.89    $2,115,095.15    $1,970,595.68    $1,493,121.46    $1,688,277.75    $1,584,729.01    $25,504,826.84
Cost Of Sales
    4800 - Cost of Goods Sold
         4830 - Gift Shop COGS                        $86,542.63       $98,619.79      $132,416.65      $111,930.06       $89,306.08      $102,240.84      $116,493.79       $91,589.17       $96,774.58       $78,696.30       $87,181.64       $61,853.03     $1,153,644.56
         4850 - Concessions COGS                       $6,703.80        $8,570.22       $10,090.68        $7,360.62        $7,025.33        $9,686.15        $3,951.66        $7,990.67       $11,814.65        $3,011.52        $5,649.79        $3,036.18        $84,891.27
         4870 - Cost of Attractions                   $12,448.11       $13,782.50       $16,761.33       $12,583.83        $9,232.50       $10,359.58       $14,397.51       $10,414.17       $15,197.89       $10,359.45       $10,687.17        $9,474.37       $145,698.41
    Total - 4800 - Cost of Goods Sold                $105,694.54      $120,972.51      $159,268.66      $131,874.51      $105,563.91      $122,286.57      $134,842.96      $109,994.01      $123,787.12       $92,067.27      $103,518.60       $74,363.58     $1,384,234.24
Total - Cost Of Sales                                $105,694.54      $120,972.51      $159,268.66      $131,874.51      $105,563.91      $122,286.57      $134,842.96      $109,994.01      $123,787.12       $92,067.27      $103,518.60       $74,363.58     $1,384,234.24
Gross Profit                                       $2,056,964.88    $2,109,354.93    $2,721,287.37    $2,282,696.19    $1,735,237.34    $2,086,500.49    $2,780,462.93    $2,005,101.14    $1,846,808.56    $1,401,054.19    $1,584,759.15    $1,510,365.43    $24,120,592.60
Expense
    7000 - Employee Compensation
         7001 - Salary                              $224,970.53      $203,725.14      $219,761.71       $215,438.37     $219,343.35      $208,197.53      $222,002.43      $244,620.86      $216,972.80      $227,399.06      $212,452.70      $213,895.71      $2,628,780.19
         7100 - Hourly
            7101 - Regular                          $600,846.82      $537,239.58       $608,270.45      $534,125.69     $550,019.71      $528,226.75       $592,380.07      $583,167.66     $502,339.36      $540,939.77      $510,609.82      $554,917.27      $6,643,082.95
            7102 - Overtime                          $38,847.91       $16,409.91        $36,270.62       $26,911.95      $26,000.53       $44,639.18        $47,407.56       $31,060.01      $60,150.55       $23,806.89       $21,036.51       $18,988.30        $391,529.92
         Total - 7100 - Hourly                      $639,694.73      $553,649.49       $644,541.07      $561,037.64     $576,020.24      $572,865.93       $639,787.63      $614,227.67     $562,489.91      $564,746.66      $531,646.33      $573,905.57      $7,034,612.87
         7103 - Vacation                             $24,119.59       $22,232.52        $22,103.80       $21,738.15      $19,736.64       $30,175.99        $39,906.43       $21,393.44      $23,843.02       $35,939.85       $29,517.38       $26,169.60        $316,876.41
         7104 - Bonuses                              $61,642.99       $81,941.58        $89,004.97       $87,803.62      $53,603.38       $85,536.51        $96,178.17       $97,731.70      $98,882.48       $55,746.81      $107,190.26       $44,935.45        $960,197.92
         7106 - Commissions                          $29,604.46       $35,419.04        $63,126.22       $33,328.34      $21,279.42       $26,936.56        $44,705.10       $42,696.61      $27,037.83       $10,606.21       $14,556.48       $26,637.54        $375,933.81
    Total - 7000 - Employee Compensation            $980,032.30      $896,967.77     $1,038,537.77      $919,346.12     $889,983.03      $923,712.52     $1,042,579.76    $1,020,670.28     $929,226.04      $894,438.59      $895,363.15      $885,543.87     $11,316,401.20
    7200 - Payroll Expenses
         7201 - Employer Insurance Contributions     $18,013.02       $27,186.94       $24,678.77        $23,497.49      $15,276.30       $13,161.82       $16,152.70       $15,165.26       $21,415.34       $22,396.99       $17,792.85        $5,264.80        $220,002.28
         7202 - Payroll Taxes                        $94,612.99       $88,347.73       $88,807.61        $77,825.44      $72,620.52      $110,072.92       $80,754.95       $83,936.61       $74,237.15       $73,024.29       $70,931.95      $102,858.24      $1,018,030.40
         7203 - Hiring Expenses                         $709.47          $409.96          $956.31           $716.00         $233.00        $1,384.00          $405.50          $868.00        $1,529.04          $169.00          $581.00          $294.00          $8,255.28
         7204 - 401(k) Employer Match                 $5,125.20        $4,852.14        $4,711.78         $4,677.26       $4,719.91        $6,646.48        $4,484.42        $4,923.74        $4,739.75        $4,438.81        $3,991.90       $15,843.26         $69,154.65
         7290 - SQM Payroll Allocation                $1,000.00          $200.00            $0.00             $0.00           $0.00            $0.00          $420.00            $0.00            $0.00          $840.00            $0.00          $840.00          $3,300.00
    Total - 7200 - Payroll Expenses                 $119,460.68      $120,996.77      $119,154.47       $106,716.19      $92,849.73      $131,265.22      $102,217.57      $104,893.61      $101,921.28      $100,869.09       $93,297.70      $125,100.30      $1,318,742.61
    7300 - Occupancy
         7301 - Rent Expense                        $323,392.09      $327,733.30      $320,421.86       $300,099.67     $316,967.13      $330,535.15      $284,783.91      $357,753.86      $271,650.70      $266,301.82      $262,626.85      $264,493.33      $3,626,759.67
         7350 - Utilities
            7350 - Utilities                          $2,281.19        $2,573.55        $1,791.10           $602.75         $629.78         $1,228.64         $268.39          $470.76        $1,144.50          $921.09        $1,023.82        $1,198.54         $14,134.11
            7351 - Electricity                      $103,010.92      $104,558.45      $108,811.08        $81,413.70      $83,065.74        $86,865.62      $89,663.21       $89,228.56       $74,401.77       $70,183.92       $69,149.86       $73,106.46      $1,033,459.29
            7352 - Phone & Internet                  $10,519.34        $9,708.66        $9,747.79         $8,684.44       $9,157.46         $9,139.30       $9,310.14        $8,425.98        $8,600.63        $9,470.93        $8,528.12        $8,102.24        $109,395.03
            7353 - Water & Sewer                      $9,521.34        $9,699.54        $9,423.30        $11,679.36      $10,120.42      ($113,166.57)     $14,386.93        $8,944.73        $9,364.23        $9,320.02       ($8,840.76)      $14,046.65        ($15,500.81)
            7354 - Waste & Disposal                   $5,017.45        $4,542.45        $4,812.45         $4,202.45       $4,109.07         $5,047.29       $4,097.29        $4,232.99        $3,997.46        $4,261.25        $3,572.46        $3,656.08         $51,548.69
            7355 - Propane                                $0.00            $0.00            $0.00             $0.00           $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
         Total - 7350 - Utilities                   $130,350.24      $131,082.65      $134,585.72       $106,582.70     $107,082.47       ($10,885.72)    $117,725.96      $111,303.02       $97,508.59       $94,157.21       $73,433.50      $100,109.97      $1,193,036.31
    Total - 7300 - Occupancy                        $453,742.33      $458,815.95      $455,007.58       $406,682.37     $424,049.60       $319,649.43     $402,509.87      $469,056.88      $369,159.29      $360,459.03      $336,060.35      $364,603.30      $4,819,795.98
    7400 - Advertising and Marketing
         7400 - Advertising and Marketing           $209,974.84      $159,368.56      $176,491.90       $211,178.10     $210,075.12      $204,213.00      $284,259.95      $195,540.16      $102,601.82       $76,204.93      $107,899.87      $101,693.34      $2,039,501.59
         7401 - PPC/Online Advertising                    $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
         7404 - Networking/Events                         $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00              $0.00
    Total - 7400 - Advertising and Marketing        $209,974.84      $159,368.56      $176,491.90       $211,178.10     $210,075.12      $204,213.00      $284,259.95      $195,540.16      $102,601.82       $76,204.93      $107,899.87      $101,693.34      $2,039,501.59
    7500 - Animal Acquisitions                        $8,895.78       $18,054.34       $24,416.76        $14,822.09      $31,775.21       ($3,445.79)       $9,172.16        $1,052.73        $3,023.27        $1,897.45        $2,469.59        $3,554.29        $115,687.88
    7504 - Animal Supplies
         7504 - Animal Supplies                      $28,825.94       $17,853.35       $17,431.03        $25,101.48      $17,341.94       $16,150.26       $17,884.70       $16,531.84       $26,055.61       $17,066.27       $11,318.66       $15,258.85       $226,819.93
         7505 - Food                                 $47,361.57       $49,819.09       $41,887.50        $36,419.94      $39,747.52       $50,603.81       $38,863.96       $39,290.18       $32,743.52       $25,203.85       $27,656.80       $43,183.36       $472,781.10
         7506 - Salt                                 $16,182.94       $17,710.18       $15,387.09        $15,059.63      $10,727.60        $8,665.91       $13,708.04       $13,236.74       $19,792.75       $15,038.80       $10,307.47        $8,600.06       $164,417.21
         7507 - Charcoal                              $3,124.90        $2,371.64        $2,321.41           $804.93       $1,216.71        $1,124.74        $3,509.11        $1,760.47        $2,240.42        $2,250.42        $2,224.82        $3,366.13        $26,315.70
    Total - 7504 - Animal Supplies                   $95,495.35       $87,754.26       $77,027.03        $77,385.98      $69,033.77       $76,544.72       $73,965.81       $70,819.23       $80,832.30       $59,559.34       $51,507.75       $70,408.40       $890,333.94
    7508 - Veterinarian Expenses                     $33,470.64       $23,110.34       $38,403.22        $28,260.78      $27,236.68       $35,017.37       $27,568.87       $29,231.40       $27,989.98       $19,389.25       $25,667.78       $25,380.14       $340,726.45
    7600 - Insurance
         7601 - Auto                                    $299.00          $299.00          $299.00          ($225.49)      $1,361.99        $1,008.50        $1,008.50        $1,008.50        $1,008.50        $1,008.50        $1,008.50        $1,008.50         $9,093.00
         7602 - General Liability                    $14,132.30       $14,132.30       $14,132.30         $9,427.54      $32,601.17       $44,194.12       $34,194.13       $34,194.13       $30,237.72       $29,937.72       $30,237.72       $30,237.72       $317,658.87
         7604 - Workmans Compensation                $26,621.74       $32,945.13       $32,945.13        $30,496.30      $39,979.79       $30,324.50       $30,324.49       $72,075.02       $44,768.26       $44,768.26       $44,768.26       $44,768.38       $474,785.26
         7605 - Insurance Claim Settlements               $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00       $20,000.00            $0.00       ($2,250.00)           $0.00            $0.00        $17,750.00
    Total - 7600 - Insurance                         $41,053.04       $47,376.43       $47,376.43        $39,698.35      $73,942.95       $75,527.12       $65,527.12      $127,277.65       $76,014.48       $73,464.48       $76,014.48       $76,014.60       $819,287.13
    7700 - Travel and Entertainment
         7700 - Travel and Entertainment               $383.46          $697.57         $1,331.09             $0.00       $1,283.37          $631.51            $61.00            $0.00        $182.00          $386.91             $0.00            $0.00         $4,956.91
         7701 - Mileage                               $1,567.67         $386.69         $1,628.51         $1,925.30       $2,239.16         $1,434.13         $604.64          $443.63         $951.51         $1,752.32         $881.58          $574.87         $14,390.01
         7702 - Per Diem                              $1,650.00        $1,045.00        $3,300.00         $3,300.00       $2,475.00         $2,255.00            $0.00        $2,255.00       $1,485.00          $508.08        $2,115.00        $1,705.00        $22,093.08
         7703 - Lodging                               $2,991.32        $2,999.34       $10,060.55         $9,617.19       $8,292.61         $4,371.28         $509.96         $7,097.51       $5,442.85        $3,821.46        $4,117.22          $136.41        $59,457.70
         7704 - Airfare                               $1,536.97        $2,762.81       $10,150.47        $13,175.63       $2,157.98         $2,950.73         $758.87         $4,955.33       $2,328.40        $1,339.42        $2,862.57          $605.13        $45,584.31
         7705 - Vehicle Fuel & Rental                 $1,058.97        $1,943.44        $4,841.10         $1,800.70       $6,681.38         $5,281.46        $1,995.33        $7,038.03       $2,027.91        $3,514.70        $2,191.66          $187.82        $38,562.50
         7706 - Employee Meals                        $4,018.30        $3,915.13        $4,034.65         $3,837.60       $6,541.57         $2,169.73        $3,420.03        $4,197.92       $4,128.22        $4,162.29        $2,247.84        $6,049.72        $48,723.00
    Total - 7700 - Travel and Entertainment
    7800 - Professional Services                     $23,052.21       $31,645.65       $32,999.70        $57,843.09      $51,937.74       $39,801.00       $36,153.62       $33,722.70       $30,794.76       $66,061.65       $40,864.35       $23,438.80       $468,315.27
    7810 - Repairs and Maintenance                   $26,273.97       $12,567.08       $16,504.56        $14,545.85      $13,602.10       $21,049.85       $11,133.94       $15,120.31       $10,301.55       $14,007.87       ($8,595.11)      $13,044.89       $159,556.86
    7820 - Office Supplies                               $38.26            $0.00          $441.34             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00           $479.60
    7830 - Operating Supplies                        $65,333.90       $71,940.65       $83,691.10        $44,996.64      $52,081.81       $57,178.15       $53,674.78       $53,302.84       $45,166.74       $67,251.57       $57,846.38       $83,592.63       $736,057.19
    7840 - Equipment                                 $26,361.64       $12,400.61        $8,817.63        $20,980.03      $22,809.32       $12,746.41        $8,035.10        $8,258.59        $6,447.50        $6,180.56       $12,357.47        $8,943.84       $154,338.70
    7850 - Dues and Subscriptions                    $37,250.03       $40,443.20       $41,645.45        $32,161.63      $33,375.37       $32,803.48       $38,713.60       $30,034.37       $20,628.14       $10,449.22       $27,607.97       $24,257.34       $369,369.80
    7851 - Software Subscriptions                     $1,389.28        $1,389.28        $1,451.94           $804.97         $804.97          $804.97          $804.97            $0.00            $0.00            $0.00            $0.00            $0.00         $7,450.38
    7852 - Website Hosting                              $666.00          $666.00          $666.60           $333.00         $333.00          $333.00          $370.00            $0.00            $0.00            $0.00            $0.00            $0.00         $3,367.60
    7860 - Freight and Shipping                       $1,288.09        $1,520.15          $888.76         $3,267.07         $328.03        $2,739.90        $3,837.83          $700.65        $5,030.34        $1,465.97        $1,219.91        $1,605.39        $23,892.09
    7870 - Training & Continued Education               $880.00        $1,029.00          $927.38         $2,920.00           $0.00          $321.99            $0.00          $440.97          $492.00           $85.00            $0.00         $149.00          $7,245.34
    8000 - SeaQuest Management Fees                       $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00             $0.00
    8005 - SeaQuest Service Fee                           $0.00            $0.00            $0.00             $0.00           $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00            $0.00             $0.00
    8040 - Taxes
         8040 - Taxes                                     $0.00            $0.00             $0.00           $0.00            $0.00            $0.00             $0.00            $0.00           $0.00          $424.56         ($267.42)           $0.00           $157.14
         8041 - Sales and Use Tax                     $4,803.62        $3,781.48         $1,908.33         $938.11        $4,213.41          $903.82         $2,071.86        $3,919.86         $593.13        $2,039.21          $190.15          $229.12        $25,592.10
                 Case 24-00803-BPH                                                  Doc 1                     Filed 12/02/24 Entered 12/02/24 17:11:57                                                                                                            Desc Main
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          8042 - Franchise Tax                            $947.64             $947.64          $947.64             $947.64           $2,223.52         $2,223.52        $2,223.52           $2,223.45        $1,275.88         $1,275.88        $1,275.88           $1,275.88        $17,788.09
          8043 - Property Taxes                        $21,591.01          $21,763.39       $21,763.39          $21,763.39          $21,763.39        $21,763.44       $31,525.25          $30,829.01       $12,987.84        $13,578.62       $21,755.71          $20,394.08       $261,478.52
       Total - 8040 - Taxes                            $27,342.27          $26,492.51       $24,619.36          $23,649.14          $28,200.32        $24,890.78       $35,820.63          $36,972.32       $14,856.85        $17,318.27       $22,954.32          $21,899.08       $305,015.85
       8050 - Bank Service Charges                     $45,858.38          $55,621.16       $45,037.46          $56,796.26          $49,592.61        $63,353.10       $65,769.53          $47,156.50       $53,060.34        $17,737.43       $35,203.77          $34,495.07       $569,681.61
       9950 - Discontinued Operations                       $0.00               $0.00            $0.00               $0.00               $0.00    ($1,124,953.85)           $0.00        ($646,495.42)           $0.00             $0.00            $0.00               $0.00    ($1,771,449.27)
       9900 - Miscellaneous Expense                         $0.00           $1,689.76            $0.00               $0.00               $0.00             $0.00            $0.00               $0.00            $0.00             $0.00            $0.00               $0.00         $1,689.76
       9910 - Donations                                     $0.00               $0.00            $0.00               $0.00               $0.00             $0.00            $0.00               $0.00            $0.00             $0.00            $0.00               $0.00             $0.00
       Total Operating Expenses                     $2,211,065.68       $2,083,599.45    $2,269,452.81       $2,096,044.08       $2,101,682.43     $3,162,553.91    $2,269,464.94       $2,916,734.03    $1,894,092.57     $1,802,324.88    $1,792,155.60       $1,872,983.23    $26,472,153.61
       EBITDA                                        ($154,100.80)         $25,755.48      $451,834.56         $186,652.11        ($366,445.09)   ($1,076,053.42)     $510,997.99        ($911,632.89)     ($47,284.01)     ($401,270.69)    ($207,396.45)       ($362,617.80)   ($2,351,561.01)

      8019 - Interest Expense
      8020 - Intercompany Interest Expense               $15,742.40       $14,299.85          $15,598.56          $15,576.70        $15,459.17       $14,552.64          $15,294.76        $24,139.21       $21,383.51        $22,862.75         $22,530.94        $64,702.34      $262,142.83
      8039 - Investor Interest Expense
           8019 - Interest Expense                        $4,397.70        $5,028.81           $4,358.48           $4,724.81         $4,794.54        $6,751.85          $18,810.32         $5,408.03        $4,547.48         $4,664.24          $2,051.25        $40,683.78      $106,221.29
           8039.5 - Interest Expense EIDL                $12,102.77       $10,869.53          $12,102.77          $11,680.26        $12,069.60        $8,974.63          $15,676.20         $7,027.42       $14,546.86         $7,253.43         $13,398.34         $9,832.22      $135,534.03
           8039.1 - Interest Expense Vince Covino         $2,038.36        $1,571.51           $1,124.28             $692.61         $1,678.48        $1,727.33           $1,528.77         $1,547.30        $1,479.45         $1,816.05          $1,479.45         $1,528.77       $18,212.36
           8039.2 - Interest Expense Jeff Cox            $10,191.78        $9,205.48           $9,901.92           $6,846.94         $5,583.00        $8,547.94           $8,832.88         $8,832.88        $8,547.94         $8,832.88          $8,876.71        $13,928.47      $108,128.82
           8039.4 - Interest Expense Adam Ellison             $0.00            $0.00               $0.00               $0.00             $0.00            $0.00               $0.00             $0.00            $0.00             $0.00              $0.00             $0.00            $0.00
      Total - 8039 - Investor Interest Expense           $28,730.61       $26,675.33          $27,487.45          $23,944.62        $24,125.62       $26,001.75          $44,848.17        $22,815.63       $29,121.73        $22,566.60         $25,805.75        $65,973.24      $368,096.50
   Total - Expense                                       $44,473.01       $40,975.18          $43,086.01          $39,521.32        $39,584.79       $40,554.39          $60,142.93        $46,954.84       $50,505.24        $45,429.35         $48,336.69       $130,675.58      $630,239.33

Other Income and Expenses
    Other Income
        5200 - Intercompany Interest Income              $15,742.72       $14,299.85          $15,599.10          $15,576.70        $15,459.17       $14,552.64          $15,294.76        $24,139.21       $24,153.05        $25,942.88         $25,563.84        $60,683.68      $267,007.60
        6070 - Employee Retention Tax Credit                  $0.00            $0.00               $0.00               $0.00             $0.00            $0.00               $0.00       $423,383.92            $0.00             $0.00         $55,284.81        $18,428.27      $497,097.00
    Total - Other Income                                 $15,742.72       $14,299.85          $15,599.10          $15,576.70        $15,459.17       $14,552.64          $15,294.76       $447,523.13       $24,153.05        $25,942.88         $80,848.65        $79,111.95      $764,104.60
    Other Expense
            9905 - Life Insurance Premiums                     $0.00            $0.00               $0.00               $0.06            $0.04            ($0.06)             $0.00             $0.00             $0.00            $0.00               $0.00            $0.00             $0.04
            9902 - Tax Provisions                              $0.00       $15,741.23          $21,450.00             ($60.93)          $60.93             $0.00              $0.00             $0.00        $10,201.00          $195.54               $0.00            $0.00        $47,587.77
        9098 - Depreciation Expense                      $106,707.49      $107,458.44         $107,623.09         $107,897.77      $108,102.13        $89,530.77         $89,748.58        $89,924.81        $81,522.46       $81,940.15          $82,793.48       $84,051.23     $1,137,300.40
        9099 - Amortization Expense                       $10,964.41       $10,964.41          $10,964.41          $10,964.41       $10,964.41        $10,964.41         $10,964.41        $10,964.41         $9,759.74        $9,759.74           $9,759.74        $9,759.74       $126,754.24
    Total - Other Expense                                $117,671.90      $134,164.08         $140,037.50         $118,801.31      $119,127.51       $100,495.12        $100,712.99       $100,889.22       $101,483.20       $91,895.43          $92,553.22       $93,810.97     $1,311,642.45
Net Other Income                                        ($101,929.18)    ($119,864.23)       ($124,438.40)       ($103,224.61)    ($103,668.34)      ($85,942.48)       ($85,418.23)      $346,633.91       ($77,330.15)     ($65,952.55)        ($11,704.57)     ($14,699.02)     ($547,537.85)
Net Income                                              ($300,502.99)    ($135,083.93)        $284,310.15          $43,906.18     ($509,698.22)   ($1,202,550.29)       $365,436.83      ($611,953.82)     ($175,119.40)    ($512,652.59)       ($267,437.71)    ($507,992.40)   ($3,529,338.19)

Check #1 - Revenues                                           ($0.00)          ($0.00)             ($0.00)             ($0.00)           $0.00             $0.00             ($0.00)           ($0.00)           ($0.00)           $0.00              ($0.00)           $0.00            ($0.00)
Check #2 - COGS                                                $0.00            $0.00              ($0.00)              $0.00           ($0.00)           ($0.00)             $0.00             $0.00             $0.00           ($0.00)             ($0.00)           $0.00            ($0.00)
Check #3 - Net Income                                          $0.00            $0.00               $0.00               $0.00            $0.00             $0.00              $0.00            ($0.00)            $0.00       ($2,944.15)             ($0.00)          ($0.00)       ($2,944.15)




Partnership EBITDA                                             Jan-23           Feb-23              Mar-23              Apr-23         May 2023          Jun 2023            Jul 2023         Aug 2023         Sept 2023         Oct 2023            Nov 2023         Dec 2023              2023

Noveen Capital                                                                                               $      2,568.98     $ (186,137.64) $    (57,929.65)    $   61,114.19       $ (457,305.10) $ (76,427.50) $ (132,385.55)         $   (53,625.29)     $ (121,029.61) $ (1,021,157.17)
Shane Shimada                                       $          35.04 $       (341.14) $   12,916.28          $     (2,351.08)    $    (4,039.09) $       342.17     $   19,719.86       $    (8,221.12) $   (8,756.60) $ (19,094.31)        $   (10,492.37)     $    (8,778.19) $    (29,060.55)
Dr. Rowe                                            $          17.52 $       (170.57) $    6,458.14          $     (1,175.54)    $    (2,019.54) $       171.09     $    9,859.93       $    (4,110.56) $   (4,378.30) $    (9,547.16)      $    (5,246.18)     $    (4,389.10) $    (14,530.28)
SQ Holdings                                             ($300,555.55)   ($134,572.21)   $264,935.73               $44,863.81       ($317,501.96) ($1,145,133.90)      $274,742.85         ($142,317.03)   ($85,557.00)   ($351,625.57)        ($198,073.87)       ($373,795.50) $ (2,464,590.20)
                                                    $            -    $          -    $         -            $           -       $          -    $          -       $         -         $          -    $         -    $          -         $          -        $          -    $           -

Noveen Capital                                      $   (9,768.06) $        (4,373.60)   $      8,610.41     $       4,027.06    $ (196,456.45) $    (95,146.50)    $     70,043.33     $ (461,930.40) $     (79,208.10)   $ (143,813.38) $       (60,062.69)   $ (133,177.97) $ (1,101,256.35)
Shane Shimada                                       $ (18,599.40) $         (8,684.62)   $     29,342.30     $         430.48    $ (23,724.21) $     (70,656.13)    $     36,753.91     $ (17,044.78) $      (14,061.13)   $ (40,895.10) $        (22,772.95)   $ (31,953.51) $ (181,865.14)
Dr. Rowe                                            $ (25,078.87) $        (11,407.35)   $     28,580.27     $       2,570.59    $ (28,530.96) $     (95,447.59)    $     32,800.96     $ (15,994.03) $      (11,522.31)   $ (38,907.89) $        (21,785.35)   $ (35,601.02) $ (220,323.56)
Joe Verska                                          $ (14,426.67) $         (6,459.47)   $     12,716.92     $       2,153.46    $ (15,240.09) $     (54,966.43)    $     13,187.66     $   (6,831.22) $      (4,106.74)   $ (16,878.03) $         (9,507.55)   $ (17,942.18) $ (118,300.33)
Adam Ellison                                        $ (15,027.78) $         (6,728.61)   $     13,246.79     $       2,243.19    $ (15,875.10) $     (57,256.69)    $     13,737.14     $   (7,115.85) $      (4,277.85)   $ (17,581.28) $         (9,903.69)   $ (18,689.78) $ (123,229.51)
Vince Covino                                        $ (217,654.78) $       (96,918.57)   $    172,439.05     $      33,439.03    $ (37,675.15) $    (771,660.55)    $    108,219.85     $ 366,599.26 $        27,619.13    $ (93,549.89) $        (74,041.64)   $ (136,431.05) $ (719,615.31)
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                                                                                                     SeaQuest Holdings, LLC
                                                                                            001. SeaQuest Holdings, LLC (Consolidated)
                                                                                          SeaQuest Balance Sheet - Consolidated
                                                                                                    End of Dec 2023

                                                                                                          Options: Activity Only
Financial Rouest Holdings, LLC Quest Management3. SeaQuest Layton eaQuest Las Vegas eaQuest Fort Worth7. SeaQuest Folsom SeaQuest RosevilleaQuest Woodbridgeest Massepequa st Fort Lauderdale SeaQuest TrumbulleaQuest Stonecrest Subsidiary             Total
                       Amount            Amount          Amount             Amount            Amount             Amount            Amount            Amount         Amount            Amount            Amount            Amount    Amount             Amount
ASSETS
  Current Assets
    Bank
      1002             $0.00           $0.00          $1,950.25             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $1,950.25
      1002             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00         $2,250.00          $0.00            $0.00              $0.00             $0.00      $0.00         $2,250.00
      1002             $0.00           $0.00              $0.00         $2,250.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $2,250.00
      1002             $0.00           $0.00              $0.00             $0.00         $2,250.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $2,250.00
      1002             $0.00           $0.00              $0.00             $0.00             $0.00         $1,000.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $1,000.00
      1002             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00          $2,100.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $2,100.00
      1006       $335,534.39           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00       $335,534.39
      1006             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00         $77,168.27             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $77,168.27
      1006             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00       $118,657.52          $0.00            $0.00              $0.00             $0.00      $0.00       $118,657.52
      1006             $0.00     ($25,271.89)             $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00       ($25,271.89)
      1006             $0.00           $0.00         $87,681.25             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $87,681.25
      1006             $0.00           $0.00              $0.00        $73,889.13             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $73,889.13
      1006             $0.00           $0.00              $0.00             $0.00        $67,787.19             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $67,787.19
      1006             $0.00           $0.00              $0.00             $0.00             $0.00        ($7,061.91)             $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        ($7,061.91)
      1006             $0.00           $0.00              $0.00             $0.00             $0.00       $115,945.19              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00       $115,945.19
      1006             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00        $1,471.48              $0.00             $0.00      $0.00         $1,471.48
      1007             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00          $3,561.74             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00         $3,561.74
    Total B      $335,534.39     ($25,271.89)        $89,631.50        $76,139.13        $70,037.19       $109,883.28         $82,830.01       $120,907.52          $0.00        $1,471.48              $0.00             $0.00      $0.00       $861,162.61
    Accounts Receivable
      1200 - Accounts Receivable
         120           $0.00           $0.00              $0.00         $2,697.97             $0.00             $0.00         ($4,072.77)       ($4,571.46)         $0.00             $0.00             $0.00             $0.00      $0.00         ($5,946.26)
         120           $0.00           $0.00          $1,303.02           $692.24           $639.69         $2,886.48          $2,439.79         $2,483.21          $0.00             $0.00             $0.00             $0.00      $0.00         $10,444.43
         120           $0.00           $0.00          $2,783.73        $11,559.13         $5,553.05         $5,518.45         $11,581.24        $10,232.07          $0.00             $0.00             $0.00             $0.00      $0.00         $47,227.67
         120           $0.00           $0.00            $333.34         $3,158.61             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00          $3,491.95
         120      $80,372.64      $11,389.35         $12,439.87        ($5,316.56)        $3,966.84         $5,155.19          $4,729.64         $2,621.71          $0.00             $0.00             $0.00             $0.00      $0.00        $115,358.68
         121           $0.00      $36,339.05              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $36,339.05
         121           $0.00    $491,212.84               $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        $491,212.84
         121     $702,386.45           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        $702,386.45
         121           $0.00      $14,401.02              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $14,401.02
      Total      $782,759.09    $553,342.26          $16,859.96        $12,791.39        $10,159.58        $13,560.12         $14,677.90        $10,765.53          $0.00             $0.00             $0.00             $0.00      $0.00      $1,414,915.83
    Total A      $782,759.09    $553,342.26          $16,859.96        $12,791.39        $10,159.58        $13,560.12         $14,677.90        $10,765.53          $0.00             $0.00             $0.00             $0.00      $0.00      $1,414,915.83
    Other Current Asset
      1400             $0.00       $1,741.36         $23,596.79        $25,124.56        $23,393.37        $40,930.62         $32,022.91        $28,068.61          $0.00             $0.00             $0.00             $0.00      $0.00       $174,878.22
      1500             $0.00           $0.00          $2,000.00         $2,000.00         $2,000.00         $2,000.00          $2,000.00         $2,000.00          $0.00             $0.00             $0.00             $0.00      $0.00        $12,000.00
      1700 - Prepaid Expenses
         170           $0.00    $403,498.31          $14,877.41        $24,008.51        $25,415.91        $10,822.02         $16,417.87        $20,038.70          $0.00            $0.00              $0.00             $0.00      $0.00        $515,078.73
         171           $0.00      $93,595.45          $6,547.47        $11,047.35        $10,505.66        $14,693.08         $11,562.49        $16,505.13          $0.00            $0.00              $0.00             $0.00      $0.00        $164,456.63
      Total            $0.00    $497,093.76          $21,424.88        $35,055.86        $35,921.57        $25,515.10         $27,980.36        $36,543.83          $0.00            $0.00              $0.00             $0.00      $0.00        $679,535.36
      1730             $0.00  $2,064,605.66               $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00      $2,064,605.66
    Total O            $0.00  $2,563,440.78          $47,021.67        $62,180.42        $61,314.94        $68,445.72         $62,003.27        $66,612.44          $0.00            $0.00              $0.00             $0.00      $0.00      $2,931,019.24
  Total Cu $1,118,293.48      $3,091,511.15         $153,513.13       $151,110.94       $141,511.71       $191,889.12        $159,511.18       $198,285.49          $0.00        $1,471.48              $0.00             $0.00      $0.00      $5,207,097.68
  Fixed Assets
    1900 - Fixed Assets
      1901             $0.00           $0.00          $8,951.38             $0.00             $0.00              $0.00             $0.00        $10,468.00          $0.00             $0.00             $0.00             $0.00      $0.00         $19,419.38
      1902             $0.00       $6,500.00         $68,380.94        $73,403.58        $86,433.48         $73,668.79        $87,784.73        $92,514.95          $0.00             $0.00             $0.00             $0.00      $0.00        $488,686.47
      1903             $0.00           $0.00      $2,023,292.32     $3,455,711.94     $1,574,127.73      $3,665,978.94     $4,427,093.17     $4,177,462.78          $0.00             $0.00             $0.00             $0.00      $0.00     $19,323,666.88
      1903             $0.00           $0.00         $28,852.25             $0.00             $0.00              $0.00       $974,618.00       $480,929.77          $0.00             $0.00             $0.00             $0.00      $0.00      $1,484,400.02
      1904             $0.00      $12,050.00              $0.00        $27,500.00             $0.00              $0.00             $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $39,550.00
      1905             $0.00      $16,130.00              $0.00        $11,000.00             $0.00              $0.00         $1,807.68             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $28,937.68
      1906             $0.00           $0.00         $36,125.23        $47,320.36        $23,667.40         $25,561.87        $27,512.84        $14,253.00          $0.00             $0.00             $0.00             $0.00      $0.00        $174,440.70
      1908             $0.00           $0.00         $12,400.00        $15,400.00        $22,800.00         $19,587.00        $20,575.00        $33,420.00          $0.00             $0.00             $0.00             $0.00      $0.00        $124,182.00
      1930             $0.00           $0.00              $0.00             $0.00             $0.00              $0.00        $75,000.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $75,000.00
      1997             $0.00           $0.00              $0.00             $0.00             $0.00     ($2,800,000.00)   ($3,333,333.32)   ($3,500,000.00)         $0.00             $0.00             $0.00             $0.00      $0.00     ($9,633,333.32)
      1998             $0.00      ($6,923.33)    ($1,170,557.24)   ($1,970,679.23)   ($1,022,710.58)      ($645,397.66)   ($1,094,559.23)     ($553,109.96)         $0.00             $0.00             $0.00             $0.00      $0.00     ($6,463,937.23)
      1999             $0.00      ($6,025.00)             $0.00       ($21,770.91)            $0.00              $0.00             $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        ($27,795.91)
    Total -            $0.00      $21,731.67      $1,007,444.88     $1,637,885.74       $684,318.03        $339,398.94     $1,186,498.87       $755,938.54          $0.00             $0.00             $0.00             $0.00      $0.00      $5,633,216.67
  Total Fix            $0.00      $21,731.67      $1,007,444.88     $1,637,885.74       $684,318.03        $339,398.94     $1,186,498.87       $755,938.54          $0.00             $0.00             $0.00             $0.00      $0.00      $5,633,216.67
  Other Assets
    1800 - Other Assets
      1801             $0.00       $6,448.00              $0.00         $2,055.00             $0.00        $43,165.20         $50,000.00         $5,822.86          $0.00            $0.00              $0.00             $0.00      $0.00        $107,491.06
      1802             $0.00        ($500.76)             $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00           ($500.76)
      1862     $2,835,467.49           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00      $2,835,467.49
      1863       $360,520.20           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $360,520.20
      1864 ($1,570,910.97)             $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00     ($1,570,910.97)
      1865      ($622,170.24)          $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00       ($622,170.24)
      1866       $409,240.42           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $409,240.42
      1867       $278,246.77           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $278,246.77
      1868      ($711,751.02)          $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00       ($711,751.02)
      1870 ($1,040,876.84)             $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00     ($1,040,876.84)
      1871       $373,430.35           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00        $373,430.35
      1873 ($2,281,998.97)             $0.00              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00            $0.00              $0.00             $0.00      $0.00     ($2,281,998.97)
    Total - ($1,970,802.81)        $5,947.24              $0.00         $2,055.00             $0.00        $43,165.20         $50,000.00         $5,822.86          $0.00            $0.00              $0.00             $0.00      $0.00     ($1,863,812.51)
  Total Oth ($1,970,802.81)        $5,947.24              $0.00         $2,055.00             $0.00        $43,165.20         $50,000.00         $5,822.86          $0.00            $0.00              $0.00             $0.00      $0.00     ($1,863,812.51)
Total ASSE ($852,509.33)      $3,119,190.06       $1,160,958.01     $1,791,051.68       $825,829.74       $574,453.26      $1,396,010.05       $960,046.89          $0.00        $1,471.48              $0.00             $0.00      $0.00      $8,976,501.84
Liabilities & Equity
  Current Liabilities
    Accounts Payable
      2000 - Accounts Payable
         200           $0.00    $142,458.68         $103,988.77       $279,828.17       $223,075.63        $61,621.12        $189,308.25       $189,705.29          $0.00             $0.00             $0.00             $0.00      $0.00      $1,189,985.91
      Total            $0.00    $142,458.68         $103,988.77       $279,828.17       $223,075.63        $61,621.12        $189,308.25       $189,705.29          $0.00             $0.00             $0.00             $0.00      $0.00      $1,189,985.91
    Total A            $0.00    $142,458.68         $103,988.77       $279,828.17       $223,075.63        $61,621.12        $189,308.25       $189,705.29          $0.00             $0.00             $0.00             $0.00      $0.00      $1,189,985.91
    Credit Card
      2051             $0.00       $2,476.50              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $2,476.50
      2060             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00         $6,400.00          $0.00             $0.00             $0.00             $0.00      $0.00         $6,400.00
      2060             $0.00           $0.00          $2,500.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $2,500.00
      2060             $0.00           $0.00              $0.00         $3,000.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $3,000.00
      2060             $0.00           $0.00              $0.00             $0.00         $4,400.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $4,400.00
      2060             $0.00           $0.00              $0.00             $0.00             $0.00        $12,434.81              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        $12,434.81
      2060             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00          $5,500.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $5,500.00
      2080             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00           $295.36          $0.00             $0.00             $0.00             $0.00      $0.00           $295.36
      2080             $0.00       $1,179.38              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $1,179.38
      2080             $0.00           $0.00          $3,538.76             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $3,538.76
      2080             $0.00           $0.00              $0.00           $676.37             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00           $676.37
      2080             $0.00           $0.00              $0.00             $0.00           $673.66             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00           $673.66
      2080             $0.00           $0.00              $0.00             $0.00             $0.00           $774.78              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00           $774.78
      2080             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00            $881.13             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00           $881.13
      2090             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00              $0.00        $10,283.67          $0.00             $0.00             $0.00             $0.00      $0.00        $10,283.67
      2090             $0.00      $40,275.13              $0.00             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        $40,275.13
      2090             $0.00           $0.00          $9,045.08             $0.00             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $9,045.08
      2090             $0.00           $0.00              $0.00         $3,198.22             $0.00             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $3,198.22
      2090             $0.00           $0.00              $0.00             $0.00         $4,951.30             $0.00              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $4,951.30
      2090             $0.00           $0.00              $0.00             $0.00             $0.00        $11,453.07              $0.00             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00        $11,453.07
      2090             $0.00           $0.00              $0.00             $0.00             $0.00             $0.00          $6,445.25             $0.00          $0.00             $0.00             $0.00             $0.00      $0.00         $6,445.25
    Total C            $0.00      $43,931.01         $15,083.84         $6,874.59        $10,024.96        $24,662.66         $12,826.38        $16,979.03          $0.00             $0.00             $0.00             $0.00      $0.00       $130,382.47
    Other Current Liability
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      2100 ($1,171,209.07) ($1,996,547.72)                $0.00             $0.00      $824,474.69             $0.00             $0.00           $0.00    $10,018.73             $0.00            $0.00     $2,333,263.37     $0.00           $0.00
      2126             $0.00     $1,171,157.75            $0.00             $0.00            $0.00             $0.00             $0.00           $0.00         $0.00             $0.00            $0.00             $0.00     $0.00   $1,171,157.75
      2127             $0.00       $539,428.49            $0.00             $0.00            $0.00             $0.00             $0.00           $0.00         $0.00             $0.00            $0.00             $0.00     $0.00     $539,428.49
      2128             $0.00       $389,925.97            $0.00             $0.00            $0.00             $0.00             $0.00           $0.00         $0.00             $0.00            $0.00             $0.00     $0.00     $389,925.97
      2200 - Payroll Liabilities
        220            $0.00         $7,354.23            $0.00             $0.00            $0.00             $0.00             $0.00           $0.00          $0.00            $0.00            $0.00             $0.00     $0.00       $7,354.23
      Total            $0.00         $7,354.23            $0.00             $0.00            $0.00             $0.00             $0.00           $0.00          $0.00            $0.00            $0.00             $0.00     $0.00       $7,354.23
      2300 - Accrued Expenses
        230            $0.00        $65,020.09       $22,086.94        $27,183.79       $21,159.56        $34,994.96       $27,410.51       $33,786.63         $0.00            $0.00             $0.00             $0.00     $0.00     $231,642.48
        230            $0.00        $15,065.31       $11,505.33        $25,644.80       $40,231.50        $49,101.26       $13,728.56       $26,311.59         $0.00            $0.00       $911,250.56       ($51,264.40)    $0.00   $1,041,574.51
        230            $0.00       $217,521.83     ($215,460.07)       $13,975.86            $0.00       ($92,455.46)       $3,807.27      ($13,118.04)     ($213.33)         $286.89        $44,115.65             $0.00     $0.00     ($41,539.40)
        230            $0.00             $0.00            $0.00             $0.00            $0.00             $0.00            $0.00            $0.00         $0.00            $0.00     $1,400,000.00             $0.00     $0.00   $1,400,000.00
      Total            $0.00       $297,607.23     ($181,867.80)       $66,804.45       $61,391.06        ($8,359.24)      $44,946.34       $46,980.18      ($213.33)         $286.89     $2,355,366.21       ($51,264.40)    $0.00   $2,631,677.59
      2400 - Sales and Use Taxes
        240            $0.00             $0.00       $15,691.79         $1,414.37       $15,334.07         $2,633.15       $13,712.00      $16,120.82           $0.00            $0.00            $0.00             $0.00     $0.00      $64,906.20
      Total            $0.00             $0.00       $15,691.79         $1,414.37       $15,334.07         $2,633.15       $13,712.00      $16,120.82           $0.00            $0.00            $0.00             $0.00     $0.00      $64,906.20
      2500 - Unearned Revenue
        250            $0.00             $0.00      $170,387.29       $224,260.82       $74,217.12       $190,057.68       $51,159.52     $244,392.66          $0.00            $0.00             $0.00             $0.00     $0.00     $954,475.09
        250            $0.00             $0.00           ($0.04)           ($0.04)           $0.00             $0.00           ($0.04)          $0.00          $0.00            $0.00             $0.00             $0.00     $0.00          ($0.12)
        250            $0.00             $0.00        $1,347.92         $4,142.23           ($0.03)        $3,764.27          $719.83       $2,254.37          $0.00            $0.00             $0.00             $0.00     $0.00      $12,228.59
        253            $0.00       $398,498.63            $0.00             $0.00            $0.00             $0.00            $0.00           $0.00          $0.00            $0.00             $0.00             $0.00     $0.00     $398,498.63
      Total            $0.00       $398,498.63      $171,735.17       $228,403.01       $74,217.09       $193,821.95       $51,879.31     $246,647.03          $0.00            $0.00             $0.00             $0.00     $0.00   $1,365,202.19
      2505             $0.00             $0.00       $14,274.21         $4,793.97        $9,075.30        $40,041.42       $69,841.99        ($993.84)         $0.00            $0.00             $0.00             $0.00     $0.00     $137,033.05
      2850             $0.00        $19,239.12        $7,867.39         $6,973.51        $6,294.44         $4,711.50        $7,315.46       $6,455.89          $0.00            $0.00             $0.00             $0.00     $0.00      $58,857.31
   Total O ($1,171,209.07)         $826,663.70       $27,700.76       $308,389.31      $990,786.65       $232,848.78      $187,695.10     $315,210.08      $9,805.40          $286.89     $2,355,366.21     $2,281,998.97     $0.00   $6,365,542.78
 Total Cu ($1,171,209.07)        $1,013,053.39      $146,773.37       $595,092.07    $1,223,887.24       $319,132.56      $389,829.73     $521,894.40      $9,805.40          $286.89     $2,355,366.21     $2,281,998.97     $0.00   $7,685,911.16
 Long Term Liabilities
   2700 - Third Party Loans
      2701    $1,297,665.45              $0.00             $0.00            $0.00            $0.00              $0.00            $0.00           $0.00         $0.00            $0.00             $0.00             $0.00     $0.00   $1,297,665.45
      2710             $0.00             $0.00             $0.00            $0.00      $498,045.55              $0.00            $0.00           $0.00         $0.00            $0.00             $0.00             $0.00     $0.00     $498,045.55
      2711             $0.00       $102,361.43             $0.00            $0.00            $0.00              $0.00            $0.00           $0.00         $0.00            $0.00             $0.00             $0.00     $0.00     $102,361.43
      2730             $0.00        $40,738.61             $0.00            $0.00            $0.00              $0.00            $0.00           $0.00         $0.00            $0.00             $0.00             $0.00     $0.00      $40,738.61
      2731             $0.00       $531,439.39       $521,659.39      $161,535.57      $520,203.35              $0.00      $521,682.75     $520,588.62         $0.00      $162,143.27       $520,675.90             $0.00     $0.00   $3,459,928.24
      2790      $162,378.08              $0.00             $0.00            $0.00            $0.00              $0.00            $0.00           $0.00         $0.00            $0.00             $0.00             $0.00     $0.00     $162,378.08
   Total -    $1,460,043.53        $674,539.43       $521,659.39      $161,535.57    $1,018,248.90              $0.00      $521,682.75     $520,588.62         $0.00      $162,143.27       $520,675.90             $0.00     $0.00   $5,561,117.36
   2750 -     $1,135,906.32      $1,852,600.78    ($3,052,290.63)      $24,649.60            $0.00     ($1,769,622.22)     $427,401.97    ($471,040.43)      $139.82        $4,877.25       $923,422.09             $0.00     $0.00    ($923,955.45)
   2800 -              $0.00             $0.00        $97,708.46      $103,916.86      $154,604.57         $91,051.71      $194,963.20     $134,903.67         $0.00            $0.00             $0.00             $0.00     $0.00     $777,148.47
 Total Lon $2,595,949.85         $2,527,140.21    ($2,432,922.78)     $290,102.03    $1,172,853.47     ($1,678,570.51)   $1,144,047.92     $184,451.86       $139.82      $167,020.52     $1,444,097.99             $0.00     $0.00   $5,414,310.38
 Equity
   3001 -      ($407,596.56)             $0.00            $0.00             $0.00             $0.00     ($417,714.57)            $0.00           $0.00          $0.00    $1,098,235.71             $0.00             $0.00    $0.00      $272,924.58
   3002 -              $0.00      ($806,619.49)   $2,459,435.30       $525,886.97    ($1,122,293.52)     $573,874.21      ($366,902.37)    $333,850.83    ($37,772.23)    ($821,116.08)      $334,647.63             $0.00    $0.00    $1,072,991.25
   3003 -       $192,744.17              $0.00      $569,857.28       $366,475.99             $0.00    $1,271,572.03       $918,737.03    ($159,304.24)    $50,461.28     ($445,215.68)   ($1,383,061.05)            $0.00    $0.00    $1,382,266.81
   3005 -       $339,119.20              $0.00            $0.00             $0.00             $0.00            $0.00             $0.00           $0.00          $0.00            $0.00             $0.00             $0.00    $0.00      $339,119.20
   3005.1       $339,119.20              $0.00            $0.00             $0.00             $0.00            $0.00             $0.00           $0.00          $0.00            $0.00             $0.00             $0.00    $0.00      $339,119.20
   3006 -       $416,385.99              $0.00            $0.00       $102,358.99             $0.00            $0.00             $0.00           $0.00          $0.00            $0.00             $0.00             $0.00    $0.00      $518,744.98
   3007 -       $242,600.82              $0.00            $0.00       $186,747.00             $0.00            $0.00             $0.00           $0.00          $0.00            $0.00             $0.00             $0.00    $0.00      $429,347.82
   3016 - A      ($2,363.27)             $0.00            $0.00             $0.00             $0.00            $0.00             $0.00           $0.00          $0.00            $0.00             $0.00             $0.00    $0.00       ($2,363.27)
   Retaine             $0.00       $401,809.13            $0.00             $0.00            ($0.00)           $0.00             $0.00          ($0.00)   ($22,634.27)           $0.00            ($0.00)   ($1,046,419.14)   $0.00     ($667,244.28)
   Net Inc ($3,397,259.66)         ($16,193.18)     $417,814.84      ($275,611.37)     ($448,617.45)     $506,159.54      ($689,702.26)     $79,154.04          $0.00        $2,260.12    ($2,751,050.78)   ($1,235,579.83)   $0.00   ($7,808,625.99)
 Total Eq ($2,277,250.11)         ($421,003.54)   $3,447,107.42       $905,857.58    ($1,570,910.97)   $1,933,891.21      ($137,867.60)    $253,700.63     ($9,945.22)    ($165,835.93)   ($3,799,464.20)   ($2,281,998.97)   $0.00   ($4,123,719.70)
Total Liabi    ($852,509.33)     $3,119,190.06    $1,160,958.01     $1,791,051.68       $825,829.74      $574,453.26     $1,396,010.05     $960,046.89          $0.00        $1,471.48             $0.00             $0.00    $0.00    $8,976,501.84
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          77. Other Property of Any Kind Not Already Listed
                            Live Animals

    Location                        Description                   Value
SeaQuest Utah
                      2 Turacos                                      $35.19
                      Various fish from Quality Marine               $43.50
                      2 Baby Sloths                                 $150.00
                      Armadillos                                     $53.00
                      Mini horse                                     $61.00
                      Qaulity Marine Fish                            $37.78
                      Cold Blooded Shop                              $15.15
                      Shark Supply (Rays & Puffers)                  $19.21
                      Sea Dwelling Creatures                         $41.55
                      Coral                                          $15.85
                      Proaquatics Fish Order                         $35.39
                      Kyle Tolman Fish Purchase                      $29.00
                      Adult Sloth                                    $86.00
TOTAL:                                                              $622.62
SeaQuest Las Vegas
                      Dama Wallaby Joey Male                         $565.00
                      Wallabies                                    $1,100.00
                      Giant Pacific Octopus                          $300.00
                      Fish from K.Y.K. Wong                          $252.40
                      Armadillos                                   $1,035.00
                      Fish from Quality Marine                       $689.43
                      Major Mitchell Bird                            $582.71
                      Blue Throat McCaw                              $207.50
                      2 Rhino Iguanas                                $229.18
                      Cownose Rays                                   $449.50
                      Misc. Fish (est. 155)                          $331.55
                      Sea Dwelling Fish                              $445.32
                      Kinkajous                                      $255.00
                      Sloth                                          $885.00
                      Two Toed Sloth                                 $400.00
TOTAL:                                                             $7,727.58
SeaQuest Folsom
                      Keel Billed Toucan (2021 Hatch)                $511.38
                      Quality Marine Fish                            $990.08
                      Baby Sloth                                     $750.00
                      Shamrock Baby McCaw                            $444.56
                      Capybara                                       $250.00
                      Splash Aquarium                                $227.83
                      Shark Supply                                   $207.58
                      Sloth                                          $682.50
                      Otter                                          $700.00
                      2 Male Wallabys                                $566.20
TOTAL:                                                             $5,330.12
SeaQuest Roseville
                      Stingrays                                      $387.50
                      Goldenchild Cow M6                             $303.20
                      Ecletus                                        $758.31
                      Black Dragon Water Monitor                     $350.00
                      Pionus Bird                                    $222.71
                      Golden Concure Bird                            $532.71
                      Fresh Water Fish                               $196.86
                      Shark Supply (Cownose Rays)                    $516.00
                      Sea Dwelling Fish                              $157.59
                      Sloth                                          $692.50
                      Otter                                        $1,020.00
                      Giant Pacific Octopus                          $345.00
TOTAL:                                                             $5,482.37
SeaQuest Woodbridge
                      Leopard Shark 36"                              $358.85
                      3 Bengal Kittens                               $785.00
                      Misc. Fish                                     $281.45
                      Shark Supply                                   $187.50
                      Quality Marine Fish                            $388.04
                      Predatory Fins Fish                            $162.00
                      Sloth                                          $885.00
                      2 Otters                                     $2,000.00
                      Sea Creatures                                  $457.00
TOTAL:                                                             $5,504.84

GRAND TOTAL:                                                      $24,667.53
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50. Other Machinery, Fixtures, and Equipment                               Equipment

   Location                            Description                         Value
SeaQuest Utah
                     Korona POS                                            $914.50
                     Steam Cleaner                                         $301.45
                     Token Machine                                         $542.68
                     Vending Machines                                      $847.71
                     Roller Card Readers                                   $385.00
                     Professional Plastics                                 $154.19
                     Cleanfreak Floor Scrubber                             $233.70
                     Hurricane Machine                                    $1,428.19
                     Roller Terminal                                       $150.00
                     R2K Pump                                              $862.40
                     Lennox Air Handler                                    $451.90
                     Sound System                                          $466.38
                     Aquaculture Equipment                                 $666.13
                     2 Heat Pump Gilter/Driers                             $243.36
                     Arnold Quality Metal Caps                             $244.40
TOTAL:                                                                    $7,891.98
SeaQuest Las Vegas
                     External Skimmer                                      $720.00
                     Hammerhead Pump                                       $269.20
                     Korona POS System/Devices                            $1,510.50
                     Token Machine                                         $542.68
                     Steam Cleaner                                         $301.45
                     New Pumps                                             $880.00
                     CRP Exclusive 2-Door Freezer (49 CU FT)               $388.13
                     Pentair                                               $323.95
                     Floor Cleaner                                         $373.50
                     Roller                                                $385.00
                     Hurricane Machine                                    $1,340.83
                     Toller Terminal                                       $150.00
                     Mis. Equipment                                        $155.14
                     HVAC Motor                                            $239.40
TOTAL:                                                                    $7,579.76
SeaQuest Folsom
                     POS Systems                                          $1,212.50
                     2 Hurricane Machines                                 $1,289.90
                     Steam Cleaner                                         $301.45
                     Token Machine                                         $546.78
                     Vending Machine                                       $701.86
                     Claw Machine                                          $230.32
                     Cool-Space 300 Fan                                    $262.72
                     Roller Card Readers                                   $385.00
                     Chiller                                               $301.73
                     BlackHawk Aquatic Pumps                               $343.24
                     Roller Terminial                                      $150.00
                     Rebel Air HVAC                                       $3,363.75
                     Cleaning Machine                                      $228.64
TOTAL:                                                                    $9,317.88
SeaQuest Roseville
                     TV                                                    $161.10
                     TV                                                    $107.40
                     Maytag Washer & Dryer                                 $133.80
                     Aquatic Equipment                                    $3,234.30
                     Floor Scrubber                                        $483.20
                     Korona POS System/Devices                            $1,212.50
                     Steam Cleaner                                         $301.45
                     Token Machine                                         $557.07
                     Vending Machine                                       $669.22
                     Roller Card Machine                                   $351.21
                     Hurricane Machine                                    $1,417.27
                     Roller Terminal                                       $150.00
                     Webstraunt Freezer                                    $258.78
TOTAL:                                                                    $9,037.30
SeaQuest Woodbridge
                  Computer/Audio Equipment                                 $1,155.20
                  Lightspeed POS                                            $803.70
                  Korona POS System/Devices                                $1,212.50
                  Token Machine                                             $537.39
                  Steam Cleaner                                             $301.45
                  Token Machine                                             $542.68
                  Vending Machine                                           $679.13
                  Aqua Logic                                                $285.40
                  Roller Card Readers                                       $385.00
                  Cleaning Machine                                          $215.64
                  Hurricane Machines                                       $2,721.16
                  R2K Systems Sand Filter & Pump                            $262.33
                  Roller Terminal                                           $150.00
                  CoolerDepot                                               $198.75
                  Boiler                                                    $693.77
TOTAL:                                                                    $10,144.08

GRAND TOTAL:                                                              $43,971.00
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     41. Office Equipment, Computer and Communication Equipment
                              & Software

         Location                 Description             Value
     SeaQuest Management - Idaho
                      Apple Computer                     $250.00
                      Resolve Video Equipment            $400.00
     TOTAL:                                              $650.00
     SeaQuest Utah
                      8 Computer                          $329.30
                      Network Equipment                   $368.80
                      Computers                           $591.10
     TOTAL:                                              $1,289.20

     GRAND TOTAL:                                        $1,939.20
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                                39. Office Furniture


        Location                 Description                  Value
     SeaQuest Management - Idaho
                          Cubicles                            $440.00
                          3 Glass Enclosed Cubicles          $1,173.00
     TOTAL:                                                  $1,613.00
     SeaQuest Roseville
                          Furniture                          $180.77
     TOTAL:                                                  $180.77

     GRAND TOTAL:                                            $1,793.77
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 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           December 2, 2024                       X /s/ Aaron Neilsen
                                                                       Signature of individual signing on behalf of debtor

                                                                        Aaron Neilsen
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           659,473.89

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           659,473.89


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,476,622.87


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           160,112.34

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,017,141.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         16,653,877.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    JPMorgan Chase Bank, N.A.                                 Checking                    5627                                    $20,508.39




           3.2.    JPMorgan Chase Bank, N.A.                                 Checking                    3732                                             $0.00




           3.3.    JPMorgan Chase Bank, N.A.                                 Checking                    9916                                             $0.00




           3.4.    JPMorgan Chase Bank, N.A.                                 Checking                    0839                                             $0.00




           3.5.    JPMorgan Chase Bank, N.A.                                 Checking                    6332                                             $0.00




           3.6.    JPMorgan Chase Bank, N.A.                                 Checking                    9991                                             $0.00




           3.7.    JPMorgan Chase Bank, N.A.                                 Checking                    5211                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
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 Debtor           SeaQuest Holdings, LLC                                                        Case number (If known)
                  Name




           3.8.     JPMorgan Chase Bank, N.A.                                Checking                         5632                           $0.00




           3.9.     JPMorgan Chase Bank, N.A.                                Checking                         1220                           $0.00



           3.10
           .    JPMorgan Chase Bank, N.A.                                    Checking                         1996                           $0.00



           3.11
           .    JPMorgan Chase Bank, N.A.                                    Checking                         7568                           $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                  $20,508.39
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                            102,094.00    -                                0.00 = ....         $102,094.00
                                              face amount                         doubtful or uncollectible accounts




           11b. Over 90 days old:                               782,000.00    -                       782,000.00 =....                       $0.00
                                              face amount                         doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                 $102,094.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No.    Go to Part 6.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 2
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 Debtor         SeaQuest Holdings, LLC                                                        Case number (If known)
                Name

        Yes Fill in the information below.

           General description                       Date of the last         Net book value of      Valuation method used   Current value of
                                                     physical inventory       debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Misc. Gift Shop
           Merchandise                                                                      $0.00                                        $7,500.00



 22.       Other inventory or supplies

 23.       Total of Part 5.
                                                                                                                                     $7,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See attachment                                                                   $0.00    Liquidation Value                   $1,793.77



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attachment.                                                                  $0.00    Liquidation Value                   $1,939.20



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         SeaQuest Holdings, LLC                                                        Case number (If known)
                Name


 43.        Total of Part 7.                                                                                                            $3,732.97
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Equipment - See attachment.                                                     $0.00    Liquidation Value                 $43,971.00



 51.        Total of Part 8.
                                                                                                                                   $43,971.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No.    Go to Part 12.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         SeaQuest Holdings, LLC                                                         Case number (If known)
                Name

        Yes Fill in the information below.

                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                              457,000.00 -                                  0.00 =
           Note Receivable - collectible                                Total face amount    doubtful or uncollectible amount                 $457,000.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           Various Life Insurance policies (Debtor is a beneficiary of
           policies along with certain employees)                                                                                                 Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Ada County District Court Case No. CV01-23-16610

           SeaQuest Holdings, LLC v. LaWanda Westbrook                                                                                            Unknown
           Nature of claim        Civil
           Amount requested                          $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Live Animals - See attachment                                                                                                       $24,667.53



           SeaQuest Utah - Salvage of tenant improvements                                                                                         Unknown



           SeaQuest Rosedale - Salvage of tenant improvements                                                                                     Unknown



 78.       Total of Part 11.
                                                                                                                                           $481,667.53
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 5
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 Debtor          SeaQuest Holdings, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $20,508.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $102,094.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $7,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $3,732.97

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $43,971.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $481,667.53

 91. Total. Add lines 80 through 90 for each column                                                           $659,473.89            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $659,473.89




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 6
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                                        39. Office Furniture


                Location                 Description              Value
             SeaQuest Management - Idaho
                                  Cubicles                        $4,400.00
                                  3 Glass Enclosed Cubicles      $11,730.00
             TOTAL:                                              $16,130.00
             SeaQuest Roseville
                                  Furniture                      $1,807.68
             TOTAL:                                              $1,807.68

             GRAND TOTAL:                                        $17,937.68
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             41. Office Equipment, Computer and Communication Equipment
                                      & Software

                 Location                Description            Value
             SeaQuest Management - Idaho
                              Apple Computer                   $2,500.00
                              Resolve Video Equipment          $4,000.00
             TOTAL:                                            $6,500.00
             SeaQuest Utah
                              8 Computer                        $3,293.00
                              Network Equipment                 $3,688.00
                              Computers                         $5,911.00
             TOTAL:                                            $12,892.00

             GRAND TOTAL:                                      $19,392.00
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             50. Other Machinery, Fixtures, and Equipment                    Equipment

                Location                            Description               Value
             SeaQuest Utah
                                  Korona POS                                  $9,145.00
                                  Steam Cleaner                               $3,014.48
                                  Token Machine                               $5,426.75
                                  Vending Machines                            $8,477.13
                                  Roller Card Readers                         $3,850.00
                                  Professional Plastics                       $1,541.93
                                  Cleanfreak Floor Scrubber                   $2,336.99
                                  Hurricane Machine                          $14,281.91
                                  Roller Terminal                             $1,500.00
                                  R2K Pump                                    $8,623.98
                                  Lennox Air Handler                          $4,519.00
                                  Sound System                                $4,663.77
                                  Aquaculture Equipment                       $6,661.26
                                  2 Heat Pump Gilter/Driers                   $2,433.62
                                  Arnold Quality Metal Caps                   $2,444.00
             TOTAL:                                                          $78,919.82
             SeaQuest Las Vegas
                                  External Skimmer                            $7,200.00
                                  Hammerhead Pump                             $2,692.00
                                  Korona POS System/Devices                  $15,105.00
                                  Token Machine                               $5,426.75
                                  Steam Cleaner                               $3,014.48
                                  New Pumps                                   $8,800.00
                                  CRP Exclusive 2-Door Freezer (49 CU FT)     $3,881.26
                                  Pentair                                     $3,239.48
                                  Floor Cleaner                               $3,734.97
                                  Roller                                      $3,850.00
                                  Hurricane Machine                          $13,408.28
                                  Toller Terminal                             $1,500.00
                                  Mis. Equipment                              $1,551.36
                                  HVAC Motor                                  $2,394.00
             TOTAL:                                                          $75,797.58
             SeaQuest Folsom
                                  POS Systems                                $12,125.00
                                  2 Hurricane Machines                       $12,899.00
                                  Steam Cleaner                               $3,014.48
                                  Token Machine                               $5,467.79
                                  Vending Machine                             $7,018.59
                                  Claw Machine                                $2,303.16
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                                  Cool-Space 300 Fan                       $2,627.18
                                  Roller Card Readers                      $3,850.00
                                  Chiller                                  $3,017.33
                                  BlackHawk Aquatic Pumps                  $3,432.42
                                  Roller Terminial                         $1,500.00
                                  Rebel Air HVAC                          $33,637.50
                                  Cleaning Machine                         $2,286.38
             TOTAL:                                                       $93,178.83
             SeaQuest Roseville
                                  TV                                       $1,611.00
                                  TV                                       $1,074.00
                                  Maytag Washer & Dryer                    $1,338.00
                                  Aquatic Equipment                       $32,343.00
                                  Floor Scrubber                           $4,832.00
                                  Korona POS System/Devices               $12,125.00
                                  Steam Cleaner                            $3,014.48
                                  Token Machine                            $5,570.70
                                  Vending Machine                          $6,692.15
                                  Roller Card Machine                      $3,512.12
                                  Hurricane Machine                       $14,172.72
                                  Roller Terminal                          $1,500.00
                                  Webstraunt Freezer                       $2,587.82
             TOTAL:                                                       $90,372.99
             SeaQuest Woodbridge
                               Computer/Audio Equipment                    $11,552.00
                               Lightspeed POS                               $8,037.00
                               Korona POS System/Devices                   $12,125.00
                               Token Machine                                $5,373.89
                               Steam Cleaner                                $3,014.48
                               Token Machine                                $5,426.75
                               Vending Machine                              $6,791.31
                               Aqua Logic                                   $2,854.00
                               Roller Card Readers                          $3,850.00
                               Cleaning Machine                             $2,156.35
                               Hurricane Machines                          $27,211.55
                               R2K Systems Sand Filter & Pump               $2,623.29
                               Roller Terminial                             $1,500.00
                               CoolerDepot                                  $1,987.48
                               Boiler                                       $6,937.69
             TOTAL:                                                       $101,440.79

             GRAND TOTAL:                                                 $439,710.01
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                       77. Other Property of Any Kind Not Already Listed
                                         Live Animals

                  Location                       Description                Value
             SeaQuest Utah
                                  2 Turacos                                 $3,518.75
                                  Various fish from Quality Marine          $4,350.14
                                  2 Baby Sloths                            $15,000.00
                                  Armadillos                                $5,300.00
                                  Mini horse                                $6,100.00
                                  Qaulity Marine Fish                       $3,778.48
                                  Cold Blooded Shop                         $1,514.98
                                  Shark Supply (Rays & Puffers)             $1,920.87
                                  Sea Dwelling Creatures                    $4,154.72
                                  Coral                                     $1,585.00
                                  Proaquatics Fish Order                    $3,538.90
                                  Kyle Tolman Fish Purchase                 $2,900.00
                                  Adult Sloth                               $8,600.00
             TOTAL:                                                        $62,261.84
             SeaQuest Las Vegas
                                  Dama Wallaby Joey Male                    $5,650.00
                                  Wallabies                                $11,000.00
                                  Giant Pacific Octopus                     $3,000.00
                                  Fish from K.Y.K. Wong                     $2,524.00
                                  Armadillos                               $10,350.00
                                  Fish from Quality Marine                  $6,894.25
                                  Major Mitchell Bird                       $5,827.11
                                  Blue Throat McCaw                         $2,075.00
                                  2 Rhino Iguanas                           $2,291.75
                                  Cownose Rays                              $4,495.00
                                  Misc. Fish (est. 155)                     $3,315.45
                                  Sea Dwelling Fish                         $4,453.21
                                  Kinkajous                                 $2,550.00
                                  Sloth                                     $8,850.00
                                  Two Toed Sloth                            $4,000.00
             TOTAL:                                                        $77,275.77
             SeaQuest Folsom
                                  Keel Billed Toucan (2021 Hatch)           $5,113.75
                                  Quality Marine Fish                       $9,900.81
                                  Baby Sloth                                $7,500.00
                                  Shamrock Baby McCaw                       $4,445.55
                                  Capybara                                  $2,500.00
                                  Splash Aquarium                           $2,278.31
                                  Shark Supply                              $2,075.81
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                                    Sloth                                  $6,825.00
                                    Otter                                  $7,000.00
                                    2 Male Wallabys                        $5,662.00
             TOTAL:                                                       $53,301.23
             SeaQuest Roseville
                                    Stingrays                              $3,875.00
                                    Goldenchild Cow M6                     $3,032.00
                                    Ecletus                                $7,583.06
                                    Black Dragon Water Monitor             $3,500.00
                                    Pionus Bird                            $2,227.11
                                    Golden Concure Bird                    $5,327.11
                                    Fresh Water Fish                       $1,968.56
                                    Shark Supply (Cownose Rays)            $5,160.00
                                    Sea Dwelling Fish                      $1,575.88
                                    Sloth                                  $6,925.00
                                    Otter                                 $10,200.00
                                    Giant Pacific Octopus                  $3,450.00
             TOTAL:                                                       $54,823.72
             SeaQuest Woodbridge
                                    Leopard Shark 36"                      $3,588.50
                                    3 Bengal Kittens                       $7,850.00
                                    Misc. Fish                             $2,814.50
                                    Shark Supply                           $1,875.00
                                    Quality Marine Fish                    $3,880.44
                                    Predatory Fins Fish                    $1,620.00
                                    Sloth                                  $8,850.00
                                    2 Otters                              $20,000.00
                                    Sea Creatures                          $4,570.00
             TOTAL:                                                       $55,048.44

             GRAND TOTAL:                                             $247,662.56
             Case 24-00803-BPH                         Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                                Desc Main
                                                                     Document     Page 46 of 103
 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Cash Value Lending
 2.1
       Corporation                                   Describe debtor's property that is subject to a lien                  $389,925.97                       $0.00
       Creditor's Name                               Various Life Insurance policies (Debtor is a
       STE 300                                       beneficiary of policies along with certain
       2929 W Navigator Dr                           employees)
       Meridian, ID 83642-8297
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Coastal States Bank
       2. Cash Value Lending
       Corporation
       3. Desert Rose Capital
       Management
       4. Lochridge Lending, Inc.
       5. Specialty Comp Insurance
       Solutions

 2.2   Coastal States Bank                           Describe debtor's property that is subject to a lien                $1,176,536.77                       $0.00
       Creditor's Name                               Various Life Insurance policies (Debtor is a
       5 Bow Circle                                  beneficiary of policies along with certain
       Hilton Head Island, SC                        employees)
       29928
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                                Desc Main
                                                                     Document     Page 47 of 103
 Debtor       SeaQuest Holdings, LLC                                                                   Case number (if known)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.1

       Desert Rose Capital
 2.3
       Management                                    Describe debtor's property that is subject to a lien                       $539,428.49              $0.00
       Creditor's Name                               Various Life Insurance policies (Debtor is a
                                                     beneficiary of policies along with certain
       2929 W. Navigator, Suite 300                  employees)
       Meridian, ID 83642
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.1

 2.4   FinWise Bank                                  Describe debtor's property that is subject to a lien                       $439,410.11              $0.00
       Creditor's Name                               ALL DEBTOR'S PRESENT AND FUTURE
                                                     ACCOUNTS AND THE DIRECT AND INDIRECT
                                                     PROCEEDS THEREOF. NOTICE PURSUANT
                                                     TO AN AGREEMENT BETWEEN DEBTOR AND
                                                     SECURED PARTY, DEBTOR HAS AGREED
                                                     NOT TO FURTHER ENCUMBER THE
                                                     COLLATERAL DESCRIBED HEREIN . THE
                                                     FURTHER ENCUMBERING OF WHICH MAY
                                                     CONSTITUTE THE TORTIOUS
                                                     INTERFERENCE WITH THE SECURED
                                                     PART'S RIGHT BY SUCH ENCUMBRANCES IN
                                                     THE EVENT THAT ANY ENTITY IS GRANTED
                                                     A SECURITY INTEREST IN DEBTOR'S
                                                     ACCOUNTS, CHATTEL PAPER OR GENERAL
                                                     INTANGIBLES CONTRARY TO THE ABOVE,
                                                     THE SECURED PARTY ASSERTS A CLAIM TO
                                                     ANY PROCEEDS THEREOF RECEIVED BY
       820 East 9400 Sputh                           SUCH ENTITY.
       Sandy, UT 84094
       Creditor's mailing address                    Describe the lien
                                                     UCC Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/20/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 5
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                                Desc Main
                                                                     Document     Page 48 of 103
 Debtor       SeaQuest Holdings, LLC                                                                   Case number (if known)
              Name

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Jeff Cox                                      Describe debtor's property that is subject to a lien                   $1,635,194.51                $0.00
       Creditor's Name                               Any and all assets of the Debtor(s) to include but
                                                     not limited to, instruments, General Intangibles,
                                                     inventory, goods, accounts receivable, vehicles,
                                                     fixtures, animals, fish, reptiles, whether now
                                                     owned or hereafter acquired or arising and
       14601 Wen Jeff Lane                           wherever now or hereafter located.
       Caldwell, ID 83607
       Creditor's mailing address                    Describe the lien
                                                     UCC Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.6   Lochridge Lending, Inc.                       Describe debtor's property that is subject to a lien                   $1,168,675.80                $0.00
       Creditor's Name                               Various Life Insurance policies (Debtor is a
                                                     beneficiary of policies along with certain
       1175 N 4000 W                                 employees)
       Rexburg, ID 83440
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.1

       Specialty Comp Insurance
 2.7
       Solutions                                     Describe debtor's property that is subject to a lien                       $161,297.17              $0.00
       Creditor's Name                               Various Life Insurance policies (Debtor is a
       2611 Internet Blvd., Suite                    beneficiary of policies along with certain
       124                                           employees)
       Frisco, TX 75034
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 5
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                                 Desc Main
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 Debtor       SeaQuest Holdings, LLC                                                                   Case number (if known)
              Name

                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.
        Specified on line 2.1

        U.S. Small Business
 2.8
        Administration                               Describe debtor's property that is subject to a lien                   $3,966,154.05                   $0.00
        Creditor's Name                              All tangible and intangible personal property,
                                                     including, but not limited to: (a) inventory, (b)
                                                     equipment, (c) instruments, including promissory
                                                     notes (d) chattel paper, including tangible chattel
                                                     paper and electronic chattel paper, (e)
                                                     documents, (f) letter of credit rights, (g) accounts,
                                                     including health-care insurance receivables and
                                                     credit card receivables, (h) deposit accounts, (i)
                                                     commercial tort claims, U) general intangibles,
                                                     including payment intangibles and software and
                                                     (k) as-extracted collateral as such terms may
                                                     from time to time be defined in the Uniform
                                                     Commercial Code. The security interest
                                                     Borrower grants includes all accessions,
                                                     attachments, accessories, parts, supplies and
                                                     replacements for the Collateral, all products,
        1545 Hawkins Blvd, Suite                     proceeds and collections thereof and all records
        202                                          and data relating thereto.
        El Paso, TX 79925
        Creditor's mailing address                   Describe the lien
                                                     UCC Lien
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $9,476,622.8
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 5
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                     Desc Main
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 Debtor       SeaQuest Holdings, LLC                                                     Case number (if known)
              Name

        Name     and address                                                                     On which line in Part 1 did you    Last 4 digits of
                                                                                                 enter the related creditor?        account number for
                                                                                                                                    this entity
        Kevin E. Dinius
        5680 E Franklin Rd                                                                       Line   2.5
        Ste 130
        Nampa, ID 83687-9012

        U.S. Small Business Administration
        1545 Hawkins Blvd., Suite 202                                                            Line   2.4
        El Paso, TX 79925




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 5 of 5
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                                   Desc Main
                                                                     Document     Page 51 of 103
 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $4,945.06          $4,945.06
           Aaron Neilsen                                             Check all that apply.
                                                                        Contingent
           7896 W Deerfawn Ln
                                                                        Unliquidated
           Eagle, ID 83616
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,053.57          $1,053.57
           Ari Roth                                                  Check all that apply.
                                                                        Contingent
           108 Bryan Avenue
                                                                        Unliquidated
           Roseville, CA 95661
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,956.93          $1,956.93
           Ashleigh Belfiore                                         Check all that apply.
                                                                        Contingent
           19706 Rosewood Ct
                                                                        Unliquidated
           Las Vegas, NV 89139
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 20
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                            Desc Main
                                                                     Document     Page 52 of 103
 Debtor       SeaQuest Holdings, LLC                                                                          Case number (if known)
              Name

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,204.05    $1,204.05
          Ashley Johnson                                             Check all that apply.
                                                                        Contingent
          6614 Blue Dia Apt 1076
                                                                        Unliquidated
          Las Vegas, NV 89139
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,153.85    $1,153.85
          Aspen Longwell                                             Check all that apply.
                                                                        Contingent
          2117 S Dorothy Ave
                                                                        Unliquidated
          Boise, ID 83706
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,934.07    $1,934.07
          David Oliver                                               Check all that apply.
                                                                        Contingent
          2007 W Sonoma Dr
                                                                        Unliquidated
          Meridian, ID 83642
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,609.14    $1,609.14
          Dianna Spain                                               Check all that apply.
                                                                        Contingent
          4330 Greenwood Rd
                                                                        Unliquidated
          Garden Valley, CA 95633
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $571.43     $571.43
          Emma Howard                                                Check all that apply.
                                                                        Contingent
          7678 E Lightfoot St
                                                                        Unliquidated
          Nampa, ID 83687
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 20
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            Case 24-00803-BPH                          Doc 1          Filed 12/02/24 Entered 12/02/24 17:11:57                            Desc Main
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 Debtor       SeaQuest Holdings, LLC                                                                          Case number (if known)
              Name

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,134.89    $1,134.89
          Hayden Novak                                               Check all that apply.
                                                                        Contingent
          413 E Vine St
                                                                        Unliquidated
          Keller, TX 76248
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00     $0.00
          Idaho State Tax Commission                                 Check all that apply.
                                                                        Contingent
          Attn: Bankruptcy
                                                                        Unliquidated
          PO Box 36
                                                                        Disputed
          Boise, ID 83722-0410
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00     $0.00
          Internal Revenue Service                                   Check all that apply.
                                                                        Contingent
          Centralized Insolvency Operation
                                                                        Unliquidated
          PO Box 7346
                                                                        Disputed

          Philadelphia, PA 19101-7346
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $437.18     $437.18
          Jacob Senft                                                Check all that apply.
                                                                        Contingent
          19 Sachem Ct
                                                                        Unliquidated
          Farmingville, NY 11738-2139
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,380.00    $1,380.00
          Jana Nyberg                                                Check all that apply.
                                                                        Contingent
          4523 Meyers Court
                                                                        Unliquidated
          Castle Rock, CO 80104
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes



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 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,417.58    $2,417.58
          Jeremy McLamb                                              Check all that apply.
                                                                        Contingent
          713 5th St Apt 209
                                                                        Unliquidated
          West Sacramento, CA 95605-2666
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $342.57     $342.57
          Joe Amorebieta                                             Check all that apply.
                                                                        Contingent
          578 N. Clearpoint Way
                                                                        Unliquidated
          Eagle, ID 83616
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,604.39    $1,604.39
          Katie Hastings                                             Check all that apply.
                                                                        Contingent
          371 Old Highway Apt 306
                                                                        Unliquidated
          Saint Paul, MN 55112-7729
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,142.86    $1,142.86
          Larry Spain                                                Check all that apply.
                                                                        Contingent
          11870 Cresthill Dr
                                                                        Unliquidated
          Elk Grove, CA 95624-9645
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,387.91    $2,387.91
          Lisa Edwards                                               Check all that apply.
                                                                        Contingent
          670 E Observation Dr
                                                                        Unliquidated
          Meridian, ID 83642-4652
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,428.57    $1,428.57
          Liz Bennis                                                 Check all that apply.
                                                                        Contingent
          8580 Savanna Oaks Ln
                                                                        Unliquidated
          Saint Paul, MN 55125
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,371.43    $0.00
          Meagan Grand                                               Check all that apply.
                                                                        Contingent
          10877 Witcher Mountain R
                                                                        Unliquidated
          Guffey, CO 80820
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $123.43     $123.43
          Mia Alati                                                  Check all that apply.
                                                                        Contingent
          1409 S Manitou Ave
                                                                        Unliquidated
          Boise, ID 83706
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,472.53    $1,472.53
          Mimi Linch                                                 Check all that apply.
                                                                        Contingent
          713 5th St Apt 209
                                                                        Unliquidated
          West Sacramento, CA 95605-2666
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,868.13    $1,868.13
          Sarah Meiers                                               Check all that apply.
                                                                        Contingent
          598 E Easy St
                                                                        Unliquidated
          Kuna, ID 83643
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unpaid Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,107.69    $0.00
            Tammy O'Shields                                          Check all that apply.
                                                                        Contingent
            2209 East Cherokee Dr
                                                                        Unliquidated
            Woodstock, GA 30188
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Unpaid Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes


 2.25       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                 $127,208.78        $127,208.78
            Trumbull Tax Collector                                   Check all that apply.
                                                                        Contingent
            Attn: Donna Pellitteri
                                                                        Unliquidated
            5866 Main Street Town Hall
                                                                        Disputed
            Trumbull, CT 06611
            Date or dates debt was incurred                          Basis for the claim:
            2023                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes


 2.26       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $256.30     $256.30
            Vince Phan                                               Check all that apply.
                                                                        Contingent
            2519 S Hilton St
                                                                        Unliquidated
            Meridian, ID 83642-5061
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Unpaid Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $1,721.31
           Aloha Animal Hospital
                                                                                       Contingent
           7341 South Torrey Pines Drive                                               Unliquidated
           Las Vegas, NV 89164                                                         Disputed
           Date(s) debt was incurred October 2024                                  Basis for the claim: Animal Medical Care
           Last 4 digits of account number 3787                                    Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $125.90
           Anderson Veterinary Service, P.A.
                                                                                       Contingent
           PO Box 158                                                                  Unliquidated
           Zumbrota, MN 55992                                                          Disputed
           Date(s) debt was incurred October 2024                                  Basis for the claim: Animal Medical Care
           Last 4 digits of account number 7247                                    Is the claim subject to offset?      No         Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,947.50
          Animal Health Diagnostic Lab
                                                                                Contingent
          P.O. Box 330                                                          Unliquidated
          Trenton, NJ 08625                                                     Disputed
          Date(s) debt was incurred September 2024                           Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $999.00
          Assured Pest Control dba Pestmasters
          504 West 9460 South                                                   Contingent
          Sandy, UT 84070                                                       Unliquidated
          Date(s) debt was                                                      Disputed
          incurred September - November 2024                                 Basis for the claim: Trade debt
          Last 4 digits of account number 376                                Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,542.90
          Avalon Apparel, Inc.
                                                                                Contingent
          2963 44th Ave N.                                                      Unliquidated
          Saint Petersburg, FL 33714                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,241.20
          AXIS Surplus Insurance Company
                                                                                Contingent
          P.O. Box 4470                                                         Unliquidated
          Alpharetta, GA 30023                                                  Disputed
          Date(s) debt was incurred October 2023                             Basis for the claim: Insurance Deductible
          Last 4 digits of account number 1509                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $640.00
          AXIS Surplus Insurance Company
                                                                                Contingent
          P.O. Box 4470                                                         Unliquidated
          Alpharetta, GA 30023                                                  Disputed
          Date(s) debt was incurred October 2023                             Basis for the claim: Insurance Deductible
          Last 4 digits of account number 3985                               Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          AXIS Surplus Insurance Company
                                                                                Contingent
          P.O. Box 4470                                                         Unliquidated
          Alpharetta, GA 30023                                                  Disputed
          Date(s) debt was incurred November 2023                            Basis for the claim: Insurance Deductible
          Last 4 digits of account number 5385                               Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $504.65
          Barlow Service Experts
                                                                                Contingent
          2869 Commerce Way, #1                                                 Unliquidated
          Ogden, UT 84401                                                       Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,516.35
          Barry Owen Co.
                                                                                Contingent
          5625 Smithway St.                                                     Unliquidated
          Los Angeles, CA 90040                                                 Disputed
          Date(s) debt was incurred July 2024                                Basis for the claim: Trade debt
          Last 4 digits of account number A190                               Is the claim subject to offset?      No         Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $24.79
          BenefitHub
                                                                                Contingent
          4030 W Boy Scout Blvd, Suite 400                                      Unliquidated
          Tampa, FL 33607                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Employee Benefits
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,605.65
          Bionic Zoo & Aquarium
                                                                                Contingent
          95 NW 13th Ave                                                        Unliquidated
          Pompano Beach, FL 33069                                               Disputed
          Date(s) debt was incurred November 2024                            Basis for the claim: Animal Acquisition
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $545,432.48
          Boulevard Ventures LLC
          3528 S Maryland Pkwy
          Mall Management Office
                                                                                Contingent
                                                                                Unliquidated
          Las Vegas, NV 89169                                                   Disputed
          Date(s) debt was incurred 2023 - present                           Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $159.94
          BOWCO Laboratories
                                                                                Contingent
          75 Freeman St                                                         Unliquidated
          Woodbridge, NJ 07095                                                  Disputed
          Date(s) debt was incurred November 2024                            Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $245.60
          Brine Shrimp Direct
                                                                                Contingent
          P.O. Box 3044                                                         Unliquidated
          Ogden, UT 84401                                                       Disputed
          Date(s) debt was incurred August 2024                              Basis for the claim: Animal Acquisition
          Last 4 digits of account number 1419                               Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $83,350.64
          Broadstone Land, LLC
          c/o TRI Property Management Services
          410 Palladio Parkway, Suite 1601                                      Contingent
          Folsom, CA 95630                                                      Unliquidated
          Date(s) debt was                                                      Disputed
          incurred October & November 2024                                   Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,117.33
          CandyMachines.com
          579 Folly Road
                                                                                Contingent
          Box 13298                                                             Unliquidated
          Charleston, SC 29412                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 0312                               Is the claim subject to offset?      No         Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $949.30
          Carbon Bulk Sales LLC
                                                                                Contingent
          1791 Kaiser Ave                                                       Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred July 2024                                Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,147.45
          Centric Mechanical Services
                                                                                Contingent
          2120 Hutton Dr., Suite 100                                            Unliquidated
          Carrollton, TX 75006                                                  Disputed
          Date(s) debt was incurred September 2024                           Basis for the claim: Service Agreement
          Last 4 digits of account number 7385                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $160.62
          CenturyLink
                                                                                Contingent
          P.O. Box 2961                                                         Unliquidated
          Phoenix, AZ 85062-2961                                                Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 2095                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Chloe West                                                            Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 7/26/2023
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,760.51
          Cintas Corp
                                                                                Contingent
          P.O. Box 88005                                                        Unliquidated
          Chicago, IL 60680-1005                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,953.98
          Citi
                                                                                Contingent
          PO Box 790046                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,506.00
          Clear Lakes LLC
          c/o NAU Select
                                                                                Contingent
          PO Box 4067                                                           Unliquidated
          Boise, ID 83711                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $918.41
          Comcast
                                                                                Contingent
          PO Box 60533                                                          Unliquidated
          City of Industry, CA 91716-0533                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 2736                               Is the claim subject to offset?      No         Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $492.92
          Cox Business
                                                                                Contingent
          PO Box 53262                                                          Unliquidated
          Phoenix, AZ 85072-3054                                                Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 8201                               Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,904.09
          Deluxebase (USA) Inc
          1201 N Orange Street
                                                                                Contingent
          Suite #7050                                                           Unliquidated
          Wilmington, DE 19801-1186                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $236,395.27
          Divvy Inc.
                                                                                Contingent
          6220 America Center Drive Suite 100                                   Unliquidated
          Alviso, CA 95002                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Elizabethtown Gas
                                                                                Contingent
          PO Box 6031                                                           Unliquidated
          Bellmawr, NJ 08099                                                    Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 8417                               Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,142.23
          Fairytale Cotton Candy Inc
                                                                                Contingent
          1000 Grand Ave                                                        Unliquidated
          West Des Moines, IA 50265                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,302.72
          Family Fun & Games
          dba CandyMachines.com
          579 Folly Rd
                                                                                Contingent
          Box13298                                                              Unliquidated
          Charleston, SC 29412                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,744.39
          FedEx Freight
                                                                                Contingent
          PO Box 21415                                                          Unliquidated
          Pasadena, CA 91185-1415                                               Disputed
          Date(s) debt was incurred Feb 2024                                 Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,944.13
          Fiesta
          Mahar Manufacturing Corp.
                                                                                Contingent
          P.O. Box 735103                                                       Unliquidated
          Dallas, TX 75373-5103                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,444.10
          Hawks & Company
                                                                                Contingent
          1000 Delsea Drive - Bldg A1                                           Unliquidated
          Westville, NJ 08093                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,680.00
          Health Compass Inc.
                                                                                Contingent
          8049 Barnoy Woods                                                     Unliquidated
          Pittsford, NY 14534                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Heng Taing                                                            Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 6/30/2024
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $183.96
          Idaho Power
                                                                                Contingent
          P.O. Box 70                                                           Unliquidated
          Boise, ID 83707                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 4470                               Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $21.78
          Intermountain Gas Company
                                                                                Contingent
          555 S Cole Rd                                                         Unliquidated
          Boise, ID 83709                                                       Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 0139                               Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,000.00
          Ixclary Sierra
          C/O: David A. Klemm
          Bailey & Galyen
          1901 Airport Freeway
                                                                                Contingent
                                                                                Unliquidated
          Dallas, TX 75207                                                      Disputed
          Date(s) debt was incurred October 2023                             Basis for the claim: Lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,379.83
          JPMorgan Chase
                                                                                Contingent
          1111 Polaris Pkwy                                                     Unliquidated
          Columbus, OH 43240                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,796.05
          K and M International, Inc.
          DBA Wild Republic
                                                                                Contingent
          7711 E Pleasant Valley Rd                                             Unliquidated
          Independence, OH 44131                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number 8851                               Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kade Walz                                                             Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 7/17/2024
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,162.70
          Kent Displays, Inc.
                                                                                Contingent
          343 Portage Blvd                                                      Unliquidated
          Kent, OH 44240                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $958.01
          Ketter Environmental Services, LLC
                                                                                Contingent
          P.O. Box 417468                                                       Unliquidated
          Boston, MA 02241-7468                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 4268                               Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,332.00
          LaMotte Company
          802 Washington Ave
                                                                                Contingent
          PO Box 329                                                            Unliquidated
          Chestertown, MD 21620                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $189,307.18
          Layton Hills Mall
          CMBS, LLC
                                                                                Contingent
          PO Box 8660                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2023 - present                           Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Linda Sanders                                                         Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 5/24/2023
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,960.91
          Liquid Blue
                                                                                Contingent
          6 Linelew Drive                                                       Unliquidated
          Derry, NH 03038                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number 8845                               Is the claim subject to offset?      No         Yes




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 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,235.00
          Little-Morris, LLP
                                                                                Contingent
          950 W. Bannock Street, Ste 1050                                       Unliquidated
          Boise, ID 83702                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $725.74
          Lumen
                                                                                Contingent
          PO Box 4918                                                           Unliquidated
          Monroe, LA 71211-4918                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 2921                               Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,379.68
          MassMutual
                                                                                Contingent
          PO Box 64340                                                          Unliquidated
          Saint Paul, MN 55164-0340                                             Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $34,061.00
          McCarter & English
          Four Gateway Center
          100 Mulberry Street                                                   Contingent
          Newark, NJ 07102                                                      Unliquidated
          Date(s) debt was                                                      Disputed
          incurred September - October 2024                                  Basis for the claim: Legal Services
          Last 4 digits of account number 0001                               Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $34,061.00
          McCarter & English, LLC
          Four Gateway Center
          100 Mulberry Street                                                   Contingent
          Newark, NJ 07102                                                      Unliquidated
          Date(s) debt was                                                      Disputed
          incurred September 2024 - present                                  Basis for the claim: Legal Services
          Last 4 digits of account number 0001                               Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michelle Case
          c/o: Glen J Lerner & Assoc
          Attn: Justin Randall
                                                                                Contingent
          4795 S Durango Dr D                                                   Unliquidated
          Las Vegas, NV 89147                                                   Disputed
          Date(s) debt was incurred June 2024                                Basis for the claim: Lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michelle Case
          c/o ER Injury Attorneys
          Attn: Justin G Randall
                                                                                Contingent
          1700 S. Pavilion Center Drive, #530                                   Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred March 2024                               Basis for the claim: Lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,699.40
          Middlesex Water Company
          Customer Service Center
                                                                                Contingent
          485C Route 1 South, Suite 400                                         Unliquidated
          Iselin, NJ 08830                                                      Disputed
          Date(s) debt was incurred Aug 2024 - Nov 2024                      Basis for the claim: Service Agreement
          Last 4 digits of account number 4799                               Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $979.07
          Murray, Ziel & Johnston, PLLC
                                                                                Contingent
          770 S Woodruff Ave                                                    Unliquidated
          Idaho Falls, ID 83401                                                 Disputed
          Date(s) debt was incurred July 2024                                Basis for the claim: Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $492,280.05
          Namdar Realty Group
          c/o Trumbull Mall Realty
                                                                                Contingent
          150 Great Neck Road, Suite 304                                        Unliquidated
          Great Neck, NY 11021                                                  Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          National Benefit Services
                                                                                Contingent
          430 W 7th Street, Suite 219494                                        Unliquidated
          Kansas City, MO 64105-1407                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number A019                               Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.39
          Nayax
                                                                                Contingent
          11350 McCormick Road, Suite 1004                                      Unliquidated
          Hunt Valley, MD 21031                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 7892                               Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,252.50
          NJ Department of Agriculture
          Animal Health Diagnostic Laboratory
                                                                                Contingent
          P.O. Box 330                                                          Unliquidated
          Trenton, NJ 08625                                                     Disputed
          Date(s) debt was incurred September 2024                           Basis for the claim: Animal Medical Care
          Last 4 digits of account number 7582                               Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,982.41
          NVEnergy
                                                                                Contingent
          6226 West Sahara Ave                                                  Unliquidated
          Las Vegas, NV 89146                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 9328                               Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,391.59
          Oracle America Inc.
                                                                                Contingent
          500 Oracle Parkway                                                    Unliquidated
          Redwood City, CA 94065                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 2741                               Is the claim subject to offset?      No         Yes


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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,856.00
          Oradell Animal Hospital
                                                                                Contingent
          580 Winters Ave                                                       Unliquidated
          Paramus, NJ 07652-3902                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,618.06
          Packaging Specialties
          an S. Walter Packaging Company
                                                                                Contingent
          PO Box 71225                                                          Unliquidated
          Philadelphia, PA 19176-6225                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number AQA1                               Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,655.14
          Paradise Cay Publications
                                                                                Contingent
          PO Box 29                                                             Unliquidated
          Arcata, CA 95518                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $7.84
          PG&E
                                                                                Contingent
          Box 997300                                                            Unliquidated
          Sacramento, CA 95899-7300                                             Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 9542                               Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,967.22
          Plunkett's/Varment Guard
                                                                                Contingent
          40 52nd Way Northeast                                                 Unliquidated
          Minneapolis, MN 55421                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 2395                               Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $145.00
          Precious Pets Animal Services
                                                                                Contingent
          1478 Flintrock Rd                                                     Unliquidated
          Henderson, NV 89014                                                   Disputed
          Date(s) debt was incurred August 2024                              Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,107.01
          Precision Waste Solutions
                                                                                Contingent
          PO Box 678114                                                         Unliquidated
          Dallas, TX 75267-8114                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 0228                               Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $350,136.83
          Ramp Payments Corporation
                                                                                Contingent
          28 West 23rd Street Floor 2                                           Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,944.96
          Rhode Island Novelty
                                                                                Contingent
          PO Box 9278                                                           Unliquidated
          Fall River, MA 02720                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,765.30
          Ridgmar Mall
                                                                                Contingent
          1888 Green Oaks Road                                                  Unliquidated
          Fort Worth, TX 76116                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 1283                               Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,200.00
          RocketRez, Inc.
          12A-40 North Gate Drive
                                                                                Contingent
          Steinback, MB                                                         Unliquidated
          R5G 2T9, Canada                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 5531                               Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $459,570.18
          Rosedale Shopping Center
                                                                                Contingent
          29974 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred 2023 - present                           Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,799.69
          Sacramento Copy
                                                                                Contingent
          3355 Myrtle Ave Ste 215                                               Unliquidated
          North Highlands, CA 95660                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $864.00
          Safari Programs
                                                                                Contingent
          8010 Westside Industrial Drive                                        Unliquidated
          Jacksonville, FL 32219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,165.00
          Sailthru, Inc.
                                                                                Contingent
          11 Lea Avenue                                                         Unliquidated
          Nashville, TN 37210                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $229,000.16
          Southwest Plaza L.L.C.
                                                                                Contingent
          PO Box 772808                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred 2023 - May 2024                          Basis for the claim: Unpaid Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $160,666.00
          Southwest Plaza LLC
          c/o Brookfield Properties
                                                                                Contingent
          8501 W. Bowles Avenue                                                 Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred September 2024                           Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $160,666.00
          Southwest Plaza, LLC
                                                                                Contingent
          8501 West Bowles Ave                                                  Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred September 2024                           Basis for the claim: Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,576.40
          Squire Boone Village
                                                                                Contingent
          PO Box 711                                                            Unliquidated
          New Albany, IN 47151                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $512.00
          State of New Jersey
          Division of Fire Safety
          Bureau of Fire Code Enforcement
                                                                                Contingent
          P.O. Box 809                                                          Unliquidated
          Trenton, NJ 08625-0809                                                Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Fire Registration Fee
          Last 4 digits of account number 5916                               Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,675.89
          Summerfields Animal Hospital, P.L.L.C.
                                                                                Contingent
          4536 North Tarrant Parkway                                            Unliquidated
          Keller, TX 76244                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 1727                               Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tabitha Thompson                                                      Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 6/1/2023
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,832.80
          Talkdesk, Inc.
          440 N Barranca Avenue
                                                                                Contingent
          Suite 4375                                                            Unliquidated
          Covina, CA 91723                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Terri Collins-Brown                                                   Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 10/2/2024
                                                                             Basis for the claim: Pending Insurance Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes



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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $107,786.91
          The Petting Zoo
                                                                                Contingent
          8870 Greenwood Place STE A                                            Unliquidated
          Savage, MD 20763                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Sales Contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,201.92
          The United Illuminating Company
                                                                                Contingent
          7741 PO Boc 847818                                                    Unliquidated
          Boston, MA 02150                                                      Disputed
          Date(s) debt was incurred Jan 2024                                 Basis for the claim: Service Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $424.32
          T-Mobile Bankruptcy Team
                                                                                Contingent
          PO Box 53410                                                          Unliquidated
          Bellevue, WA 98015-3410                                               Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 2558                               Is the claim subject to offset?      No         Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $98.12
          Treasure Valley Family YMCA
                                                                                Contingent
          805 W Franklin St                                                     Unliquidated
          Boise, ID 83702                                                       Disputed
          Date(s) debt was incurred November 2024                            Basis for the claim: Service Agreement
          Last 4 digits of account number 4863                               Is the claim subject to offset?      No         Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $175.00
          Truly Nolen Branch
                                                                                Contingent
          050 6000 S. Eastern Ave 2E                                            Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $175.00
          Truly Nolen Branch 050
                                                                                Contingent
          6000 S Eastern Ave 2E                                                 Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred October 2024                             Basis for the claim: Service Agreement
          Last 4 digits of account number 5038                               Is the claim subject to offset?      No         Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,105,773.21
          Trumbull Shopping Center #2 LLC
          Attn: legal Department
          2049 Century Park East
                                                                                Contingent
          41st Floor                                                            Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred August 8, 2024                           Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $485.05
          United Behavioral Health dba Optum
                                                                                Contingent
          PO Box 885897                                                         Unliquidated
          Los Angeles, CA 90088-5897                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Service Agreement
          Last 4 digits of account number 5652                               Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 20
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
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 Debtor       SeaQuest Holdings, LLC                                                                  Case number (if known)
              Name

 3.96      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $30,603.05
           United Healthcare
                                                                                Contingent
           PO Box 94017                                                         Unliquidated
           Palatine, IL 60094-4017                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim: Service Agreement
           Last 4 digits of account number 4675                              Is the claim subject to offset?      No         Yes


 3.97      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $529,825.40
           Vanessa Duran GK Preferred Income II
                                                                                Contingent
           1888 Green Oaks Road                                                 Unliquidated
           Fort Worth, TX 76116                                                 Disputed
           Date(s) debt was incurred 2023 - present                          Basis for the claim: Unpaid Rent
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.98      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $10,281.45
           Vestis
                                                                                Contingent
           2680 Palumbo Drive                                                   Unliquidated
           Lexington, KY 40509                                                  Disputed
           Date(s) debt was incurred October 2024                            Basis for the claim: Trade debt
           Last 4 digits of account number 4531                              Is the claim subject to offset?      No         Yes


 3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $183,545.20
           Vince Covino
                                                                                Contingent
           5173 N Brookmeadow Way                                               Unliquidated
           Boise, ID 83713                                                      Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.100     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,464.88
           Waxie Sanitary Supply
                                                                                Contingent
           P.O. Box 748802                                                      Unliquidated
           Los Angeles, CA 90074-8802                                           Disputed
           Date(s) debt was incurred                                         Basis for the claim: Sales Contract
           Last 4 digits of account number 6700                              Is the claim subject to offset?      No         Yes


 3.101     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $121.50
           Welliver & Associates, LLC
                                                                                Contingent
           1776 Park Ave 4-405                                                  Unliquidated
           Park City, UT 84060                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Service Agreement
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.102     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $381,222.69
           Woodbridge Center
                                                                                Contingent
           7855 Solution Center                                                 Unliquidated
           Chicago, IL 60677                                                    Disputed
           Date(s) debt was incurred 2023 - present                          Basis for the claim: Unpaid Rent
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 19 of 20
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 Debtor        SeaQuest Holdings, LLC                                                            Case number (if known)
               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1        CenturyLink
            PO Box 52187                                                                         Line     3.50
            Phoenix, AZ 85072-2187
                                                                                                        Not listed. Explain

 4.2        Cintas Corp
            P.O. Box 630803                                                                      Line     3.22
            Cincinnati, OH 45263-0803
                                                                                                        Not listed. Explain

 4.3        S&D Law
            Attn: Michael L. Schlepp                                                             Line     3.80                                  0952
            1550 Wewatta Street Floor 2
                                                                                                        Not listed. Explain
            Denver, CO 80202

 4.4        Trumbull Mall Realty LLC
            c/o Minnella, Tramuta & Edwards                                                      Line     3.94                                  5JCH
            Attn: Martin Joseph Minnella
                                                                                                        Not listed. Explain
            40 Middlebury Road
            Middlebury, CT 06762


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    160,112.34
 5b. Total claims from Part 2                                                                       5b.    +     $                  7,017,141.79

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    7,177,254.13




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 20 of 20
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 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Commercial Lease -
             lease is for and the nature of               3528 S. Maryland
             the debtor's interest                        Parkway, Las Vegas, NV
                                                          89169
                 State the term remaining                 5 years                    Boulevard Ventures, LLC
                                                                                     c/o Sansone Companies
             List the contract number of any                                         9017 S. Pecos Road, Suite #4500
                   government contract                                               Henderson, NV 89074


 2.2.        State what the contract or                   Commercial Lease - 430
             lease is for and the nature of               Palladio Parkway, Suite
             the debtor's interest                        1081, Folsom, CA 95630

                 State the term remaining                 4 years
                                                                                     Broadstone Land, LLC
             List the contract number of any                                         340 Palladio Parkway, Suite 521
                   government contract                                               Folsom, CA 95630-8574


 2.3.        State what the contract or                   Office Lease - 5759
             lease is for and the nature of               Discovery Plaza
             the debtor's interest

                 State the term remaining                 6 months                   Clear Lakes, LLC
                                                                                     c/o NAI Select
             List the contract number of any                                         P.O. Box 4067
                   government contract                                               Boise, ID 83711


 2.4.        State what the contract or                   Commercial Lease -
             lease is for and the nature of               1974 Green Oaks Rd,
             the debtor's interest                        Fort Worth, TX 76116

                 State the term remaining                 3 years                    GK Preferred Income II (Ridgmar) SPE LLC
                                                                                     1551 Kingsbury Partners SPE, LLC
             List the contract number of any                                         1888 Green Oaks Road
                   government contract                                               Fort Worth, TX 76116




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 SeaQuest Holdings, LLC                                                              Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Shopping Center Lease -
             lease is for and the nature of               Layton Hills Mall
             the debtor's interest

                 State the term remaining                 2 years
                                                                                      Layton Hills Mall CMBS LLC
             List the contract number of any                                          2030 Hamilton Place Boulevard
                   government contract                                                Chattanooga, TN 37421-6000


 2.6.        State what the contract or                   Shopping Center Lease -
             lease is for and the nature of               Roseville MN
             the debtor's interest

                 State the term remaining                                             PPF RTL Rosedale Shopping Center
                                                                                      C/O Morgan Stanley Real Estate Advisor, Inc.
             List the contract number of any                                          18585 Broadway, 7th Floor
                   government contract                                                New York, NY 10036


 2.7.        State what the contract or                   Commercial Lease -
             lease is for and the nature of               1000 Southwest Plaza,
             the debtor's interest                        Littleton, CO

                 State the term remaining                 4 years                     Southwest Plaza, L.L.C.
                                                                                      c/o Southwest Plaza
             List the contract number of any                                          110 N. Wacker Dr.
                   government contract                                                Chicago, IL 60606


 2.8.        State what the contract or                   Shopping Center Lease -
             lease is for and the nature of               Tumbull, CT
             the debtor's interest

                 State the term remaining                 10 years                    Trumbull Shopping Center #2 LLC
                                                                                      Westfield Trumbull
             List the contract number of any                                          5065 Main Street
                   government contract                                                Trumbull, CT 06611


 2.9.        State what the contract or                   Shopping Center Lease -
             lease is for and the nature of               Stonecrest GA
             the debtor's interest

                 State the term remaining                 8 years                     Urban Retail Properties LLC
                                                                                      111 East Wacker Drive
             List the contract number of any                                          Suite 2400
                   government contract                                                Chicago, IL 60601




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 3
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 Debtor 1 SeaQuest Holdings, LLC                                                             Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.10.       State what the contract or                   Shopping Center Lease -
             lease is for and the nature of               Woodbridge, IL
             the debtor's interest
                                                                                     Woodbridge Center Property, LLC
                 State the term remaining                 3 years                    c/o Woodbridge Center
                                                                                     350 N. Orleans St.
             List the contract number of any                                         Suite 300
                   government contract                                               Chicago, IL 60654-1607




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                     Name                         Check all schedules
                                                                                                                                that apply:
     2.1     Legacy                            3363 E Presidential Drive STE 104                   FinWise Bank                     D   2.4
             Consulting, Inc.                  Meridian, ID 83642                                                                   E/F
                                                                                                                                    G



     2.2     Vincenzo G                        5173 N Brookmeadow Way                              FinWise Bank                     D   2.4
             Covino                            Boise, ID 83713-1454                                                                 E/F
                                                                                                                                    G



     2.3     Vincenzo G                        5173 N Brookmeadow Way                              U.S. Small Business              D   2.8
             Covino                            Boise, ID 83713-1454                                Administration                   E/F
                                                                                                                                    G



     2.4     Kim Covino                                                                            GK Preferred Income II           D
                                                                                                   (Ridgmar) SPE LLC                E/F
                                                                                                                                    G   2.4



     2.5     Kim Covino                        5173 N Brookmeadow Way                              GK Preferred Income II           D
                                               Boise, ID 83713                                     (Ridgmar) SPE LLC                E/F
                                                                                                                                    G   2.4



     2.6     Kim Covino                        5173 N Brookmeadow Way                              Layton Hills Mall                D
                                               Boise, ID 83713                                     CMBS LLC                         E/F
                                                                                                                                    G   2.5




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 2
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 Debtor       SeaQuest Holdings, LLC                                                          Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Shane Shimada                     11700 W Charleston Blvd., STE 170-60                Boulevard Ventures,        D
                                               Las Vegas, NV 89135                                 LLC                        E/F
                                                                                                                              G   2.1



     2.8     Vincenzo G                        5173 N Brookmeadow Way                              Clear Lakes, LLC           D
             Covino                            Boise, ID 83713-1454                                                           E/F
                                                                                                                              G   2.3



     2.9     Vincenzo G                        5173 N Brookmeadow Way                              GK Preferred Income II     D
             Covino                            Boise, ID 83713-1454                                (Ridgmar) SPE LLC          E/F
                                                                                                                              G   2.4



             Vincenzo G                        5173 N Brookmeadow Way                              Boulevard Ventures,        D
    2.10     Covino                            Boise, ID 83713-1454                                LLC                        E/F
                                                                                                                              G   2.1



             Vincenzo G                        5173 N Brookmeadow Way                              Layton Hills Mall          D
    2.11     Covino                            Boise, ID 83713-1454                                CMBS LLC                   E/F
                                                                                                                              G   2.5




Official Form 206H                                                             Schedule H: Your Codebtors                            Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         SeaQuest Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $15,280,000.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $25,504,827.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $27,191,814.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

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 Debtor       SeaQuest Holdings, LLC                                                                    Case number (if known)




          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               Boulevard Ventures LLC                                      10/10/2024,                      $13,735.24
               3528 S Maryland Pkwy                                        9/11/2024                                             Unsecured loan repayments
               Mall Management Office                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Las Vegas Location
               Las Vegas, NV 89169
                                                                                                                               Rent

       3.2.                                                                                                                      Secured debt
               Broadstone Land, LLC                                        10/15/2024,                      $67,993.04
               340 Palladio Parkway, Suite 521                             9/12/2024,                                            Unsecured loan repayments
               Folsom, CA 95630-8574                                       10/23/2024                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Folsom Location Rent

       3.3.                                                                                                                      Secured debt
               Clear Lakes LLC                                             10/2/2024,                       $15,012.00
               c/o NAU Select                                              9/11/2024                                             Unsecured loan repayments
               PO Box 4067                                                                                                       Suppliers or vendors
                                                                                                                                 Services
               Boise, ID 83711
                                                                                                                                 Other Boise Office Rent

       3.4.                                                                                                                      Secured debt
               Divvy Inc.                                                  8/20/2024,                       $78,088.46
               6220 America Center Drive Suite 100                         9/23/2024,                                            Unsecured loan repayments
               Alviso, CA 95002                                            9/3/2024,                                             Suppliers or vendors
                                                                                                                                 Services
                                                                           10/1/2024
                                                                                                                                 Other Credit Card Payments

       3.5.                                                                                                                      Secured debt
               East Coast Combustions Specialists, Inc.                    8/21/2024                          $6,937.69
               PO Box 277                                                                                                        Unsecured loan repayments
               Lafayette, NJ 07848                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.6.                                                                                                                      Secured debt
               FinWise Bank                                                9/5/2024,                        $31,809.18
               820 East 9400 Sputh                                         10/7/2024                                             Unsecured loan repayments
               Sandy, UT 84094                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.7.                                                                                                                      Secured debt
               Vanessa Duran GK Preferred Income II                        9/11/2024,                       $22,908.17
               1888 Green Oaks Road                                        10/10/2024                                            Unsecured loan repayments
               Fort Worth, TX 76116                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Fort Worth Location
                                                                                                                               Rent

       3.8.                                                                                                                      Secured debt
               JPMorgan Chase                                              8/12/2024                          $6,096.46
               1111 Polaris Pkwy                                                                                                 Unsecured loan repayments
               Columbus, OH 43240                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit Card Payment




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2

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 Debtor       SeaQuest Holdings, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.                                                                                                                      Secured debt
               Layton Hills Mall                                           8/14/2024                          $7,500.00
               CMBS, LLC                                                                                                         Unsecured loan repayments
               PO Box 8660                                                                                                       Suppliers or vendors
                                                                                                                                 Services
               Carol Stream, IL 60197
                                                                                                                                 Other Utah Location Rent
                                                                                                                               Payment

       3.10                                                                                                                      Secured debt
       .
            Leavitt Select Insurance Services                              9/4/2024,                       $231,586.44
               6220 N Discovery Way #100                                   9/5/2024,                                             Unsecured loan repayments
               Boise, ID 83713                                             9/10/2024/                                            Suppliers or vendors
                                                                                                                                 Services
                                                                           9/12/2024
                                                                                                                                 Other

       3.11                                                                                                                      Secured debt
       .
            MassMutual                                                     9/18/2024                        $10,978.74
               PO Box 64340                                                                                                      Unsecured loan repayments
               Saint Paul, MN 55164-0340                                                                                         Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.12                                                                                                                      Secured debt
       .
            McCarter & English, LLC                                        10/1/2024                        $15,000.00
               Four Gateway Center                                                                                               Unsecured loan repayments
               100 Mulberry Street                                                                                               Suppliers or vendors
                                                                                                                                 Services
               Newark, NJ 07102
                                                                                                                                 Other

       3.13                                                                                                                      Secured debt
       .
            MNTN, Inc                                                      11/6/2024                        $46,254.51
               823 Congress Avenue #1827                                                                                         Unsecured loan repayments
               Austin, TX 78768                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.14                                                                                                                      Secured debt
       .
            Nationwide                                                     9/24/2024                       $169,975.20
               PO Box 645563                                                                                                     Unsecured loan repayments
               Cincinnati, OH 45264                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.15                                                                                                                      Secured debt
       .
            Oracle America Inc.                                            9/24/2024                        $19,000.00
               500 Oracle Parkway                                                                                                Unsecured loan repayments
               Redwood City, CA 94065                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.16                                                                                                                      Secured debt
       .
            QBE Insurance                                                  9/4/2024                         $43,784.70
               PO Box 28034                                                                                                      Unsecured loan repayments
               New York, NY 10087-8034                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.17                                                                                                                      Secured debt
       .
            Ramp Payments Corporation                                      8/16/2024,                      $110,930.20
               28 West 23rd Street Floor 2                                 8/23/2024/9/3                                         Unsecured loan repayments
               New York, NY 10010                                          /2023,                                                Suppliers or vendors
                                                                                                                                 Services
                                                                           9/17/2024,
                                                                                                                                 Other Credit Card Payments
                                                                           9/23/2024




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.18                                                                                                                      Secured debt
       .
            Rebel Air                                                      9/25/2024                        $33,637.50
               PO Box 782                                                                                                        Unsecured loan repayments
               Atwood, CA 92811                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.19                                                                                                                      Secured debt
       .
            Rocky Mountain Power                                           8/13/2024,                       $26,603.01
               PO Box 26000                                                9/12/2024,                                            Unsecured loan repayments
               Portland, OR 97256                                          10/22/2024                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.20                                                                                                                      Secured debt
       .
            Roller Networks USA, Inc                                       8/15/2024,                       $26,161.53
               PO Box 562                                                  9/5/2024                                              Unsecured loan repayments
               South Melbourne, 3205 Australia                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.21                                                                                                                      Secured debt
       .
            Royal Industries                                               10/11/2024                         $7,577.50
               1135 Plymouth                                                                                                     Unsecured loan repayments
               Allentown, PA 18109-1541                                                                                          Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.22                                                                                                                      Secured debt
       .
            Sailthru, Inc.                                                 9/8/2024                         $13,165.00
               11 Lea Avenue                                                                                                     Unsecured loan repayments
               Nashville, TN 37210                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.23                                                                                                                      Secured debt
       .
            SMUD                                                           8/25/2024,                       $45,988.25
               PO Box 15555                                                9/12/2024,                                            Unsecured loan repayments
               Sacramento, CA 95852                                        10/10/2024,                                           Suppliers or vendors
                                                                                                                                 Services
                                                                           11/6/2024
                                                                                                                                 Other

       3.24                                                                                                                      Secured debt
       .
            Spectrum Brands Pet, LLC                                       9/5/2024,                        $20,238.91
               32854 Collection Center Drive                               9/25/2024,                                            Unsecured loan repayments
               Chicago, IL 60693                                           10/23/2024                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.25                                                                                                                      Secured debt
       .
            Tarrant County Tax Office                                      9/10/2024                          $7,482.55
               PO Box 961018                                                                                                     Unsecured loan repayments
               Fort Worth, TX 76161                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Taxes

       3.26                                                                                                                      Secured debt
       .
            Tepco Premium Finance                                          8/20/2024,                       $90,595.71
               PO Box 19127                                                9/17/2024,                                            Unsecured loan repayments
               Spokane, WA 99219                                           10/21/2024                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                   Total amount of value         Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.27                                                                                                                           Secured debt
       .
            The Penn Mutual Life Insurance Company                         9/16/2024                       $408,771.90
               PO Box 7460                                                                                                            Unsecured loan repayments
               Philadelphia, PA 19101                                                                                                 Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.28                                                                                                                           Secured debt
       .
            United Healthcare                                              8/30/2024,                       $63,337.91
               PO Box 94017                                                10/4/2024                                                  Unsecured loan repayments
               Palatine, IL 60094-4017                                                                                                Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.29                                                                                                                           Secured debt
       .
            Woodbridge Center Property, LLC                                9/12/2024,                       $22,160.00
               c/o Woodbridge Center                                       10/10/2024                                                 Unsecured loan repayments
               350 N. Orleans St.                                                                                                     Suppliers or vendors
                                                                                                                                      Services
               Suite 300
                                                                                                                                      Other Woodbridge Location
               Chicago, IL 60654-1607
                                                                                                                                 Rent

       3.30                                                                                                                           Secured debt
       .
            Xcel Energy                                                    8/28/2024,                       $20,508.30
               P.O. Box 9477                                               10/2/2024,                                                 Unsecured loan repayments
               Minneapolis, MN 55484                                       11/6/2024                                                  Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                   Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken
       Various Creditors - See attachment                                                                                                                 $22,075.22
                                                                Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

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    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    SeaQuest Holdings, LLC v.                        Civil                      Ada County District Court                   Pending
               LaWanda Westbrook                                                           200 W Front St                              On appeal
               CV01-23-16610                                                               Boise, ID 83702                             Concluded


       7.2.    Trumball Mall Realty LLC v.                      Civil                      District Court of Connecticut               Pending
               SeaQuest Holdings, LLC                                                      (New Haven)                                 On appeal
               3:24-cv-00455-JCH                                                           PO Box 570                                  Concluded
                                                                                           New Haven, CT 06510

       7.3.    Michelle Case v. SeaQuest                        Tort Claim                 Clark County District Court                 Pending
               Interactive Aquarium Las Vegas                                              201 E Clark Ave                             On appeal
               LLC et al                                                                   Las Vegas, NV 89101                         Concluded
               A-24-889956-C

       7.4.    Priscilla Landero v. SeaQuest                    Tort Claim                 Clark County District Court                 Pending
               Holdings, LLC                                                               201 E Clark Ave                             On appeal
               A-23-879676-C                                                               Las Vegas, NV 89101                         Concluded


       7.5.    Southwest Plaza, LLC v.                          Civil                      Jefferson County District                   Pending
               SeaQuest Holdings, LLC                                                      Court                                       On appeal
               2024CV30952                                                                 100 Jefferson County Pkwy                   Concluded
                                                                                           Golden, CO 80401

       7.6.    State Grand Jury Subpoena for                    Grand Jury                 New Jersey State Grand Jury                 Pending
               Animal Care Records                              Subpoena                   The Mercer County Jury                      On appeal
                                                                                           Management Office                           Concluded
                                                                                           175 South Broad Street, Floor
                                                                                           2
                                                                                           Trenton, NJ 08650-0068

       7.7.    Davis County Animal Care                                                    Animal Care of Davis County                 Pending
               Investigation                                                               1422 E 600 N                                On appeal
                                                                                           Kaysville, UT 84037                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None


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       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    Johnson May
                199 N Capitol Blvd., Ste 200                                                                                   11/8/2024 &
                Boise, ID 83702                                                                                                11/19/2024            $50,000.00

                Email or website address
                mtc@johnsonmaylaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer         Total amount or
               Address                                          payments received or debts paid in exchange                was made                       value
       13.1 Stonecrest Resorts, LLC
       .    8020 Mall Parkway
               Stonecrest , GA 30038                            License to Stonecrest Resorts LLC                          4/1/2023                     Unknown

               Relationship to debtor




  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply



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                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides
                                                                the debtor provides                                                    meals and housing,
                                                                                                                                       number of patients in
                                                                                                                                       debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    SeaQuest Management Inc Retirement Plan                                                    EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                      Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred
       18.1.     JPMorgan Chase                                 XXXX-1516                    Checking                  10/10/2024                       Unknown
                 1111 Polaris Pkwy                                                           Savings
                 Columbus, OH 43240                                                          Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     JPMorgan Chase                                 XXXX-6848                    Checking                  3/15/2024                        Unknown
                 1111 Polaris Pkwy                                                           Savings
                 Columbus, OH 43240                                                          Money Market
                                                                                             Brokerage
                                                                                             Other




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                Financial Institution name and                  Last 4 digits of          Type of account or           Date account was          Last balance
                Address                                         account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred
       18.3.    US Bank                                         XXXX-7521                    Checking                  7/15/2024                      Unknown
                PO Box 1800                                                                  Savings
                Saint Paul, MN 55101                                                         Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                         Names of anyone with               Description of the contents         Does debtor
                                                                       access to it                                                           still have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                       Names of anyone with               Description of the contents         Does debtor
                                                                       access to it                                                           still have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                  Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.


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       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    SeaQuest Management                              Aquarium                                         EIN:         XX-XXXXXXX
             5759 N Discovery Way
             Boise, ID 83713                                                                                   From-To      2016- November 2024

    25.2.    SeaQuest Layton                                  Aquarium                                         EIN:         XX-XXXXXXX
             1201 N Hill Field Rd
             Layton, UT 84041                                                                                  From-To      2016- November 2024

    25.3.    SeaQuest Las Vegas                               Aquarium                                         EIN:         XX-XXXXXXX
             3528 S. Maryland Pkwy. Ste
             340                                                                                               From-To      2016- November 2024
             Las Vegas, NV 89169

    25.4.    SeaQuest Folsom                                  Aquarium                                         EIN:         XX-XXXXXXX
             430 Palladio Pkwy. Ste 1801
             Folsom, CA 95630                                                                                  From-To      2018 - November 2024

    25.5.    SeaQuest Roseville                               Aquarium                                         EIN:         XX-XXXXXXX
             1595 MN-36
             Space #578                                                                                        From-To      2019 - November 2024
             Saint Paul, MN 55113

    25.6.    SeaQuest Woodbridge                              Aquarium                                         EIN:         XX-XXXXXXX
             250 Woodbridge Center Dr
             Woodbridge, NJ 07095                                                                              From-To      2019 - November 2024

    25.7.    SeaQuest Stonecrest                              Aquarium                                         EIN:         XX-XXXXXXX
             8020 Mall Parkway
             Lithonia, GA 30038                                                                                From-To      2021 - June 2023

    25.8.    SeaQuest Littleton                               Aquarium                                         EIN:         XX-XXXXXXX
             8501 W. Bowles
             Ste 1000                                                                                          From-To      2018 - February 2024
             Littleton, CO 80123




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    25.9.    SeaQuest Trumbull                                Aquarium                                         EIN:        XX-XXXXXXX
             5065 Main St.
             Ste 1106                                                                                          From-To     2019 - August 2023
             Trumbull, CT 06611

    25.10 SeaQuest Massapequa                                 Aquarium                                         EIN:        XX-XXXXXXX
    .
                                                                                                               From-To     2018 - 2021

    25.11 SeaQuest Fort Worth                                 Aquarium                                         EIN:        XX-XXXXXXX
    .
             1974 Green Oaks Rd
             Fort Worth, TX 76116                                                                              From-To     2017 - October 2024

    25.12 SwaQuest Fort Lauderdale,                                                                            EIN:        XX-XXXXXXX
    .
             LLC
                                                                                                               From-To     2018 -


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Aaron Neilsen                                                                                                        12/6/2021 - present
                    7896 W Deerfawn Ln
                    Eagle, ID 83616
       26a.2.       Sarah Meiers                                                                                                         11/9/2020 - present
                    598 E Easy St
                    Kuna, ID 83634
       26a.3.       Mia Atali                                                                                                            9/18/2023 - present
                    1409 S Manitou Ave
                    Boise, ID 83706
       26a.4.       Joe Amorebieta                                                                                                       8/12/2024 - present
                    578 N Clearpoint Way
                    Eagle, ID 83616
       26a.5.       Taylor Draper                                                                                                        9/11/2023 - 4/5/2024
                    8650 W Rifleman St., Unit B303
                    Boise, ID 83704
       26a.6.       Annette Jones                                                                                                        5/22/2023 - 7/26/2024
                    4524 W Waverton Lane
                    Meridian, ID 83646
       26a.7.       Nick Lloyd                                                                                                           5/10/2022 - 5/12/2023
                    1393 W Deadwood Ct
                    Eagle, ID 83616

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None




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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Aaron Neilsen
                    7896 W Deerfawn Ln
                    Eagle, ID 83616
       26c.2.       Sarah Meiers
                    598 E Easy St
                    Kuna, ID 83634
       26c.3.       Mia Atali
                    1409 S Manitou Ave
                    Boise, ID 83706
       26c.4.       Joe Amorebieta
                    578 N Clearpoint Way
                    Eagle, ID 83616

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Boulevard Ventures LLC
                    3528 S Maryland Pkwy
                    Mall Management Office

                    Las Vegas, NV 89169
       26d.2.       Broadstone Land, LLC
                    340 Palladio Parkway, Suite 521
                    Folsom, CA 95630-8574
       26d.3.       Vanessa Duran GK Preferred Income II
                    1888 Green Oaks Road
                    Fort Worth, TX 76116
       26d.4.       Layton Hills Mall
                    CMBS, LLC
                    PO Box 8660
                    Carol Stream, IL 60197
       26d.5.       Woodbridge Center Property, LLC
                    c/o Woodbridge Center
                    350 N. Orleans St.
                    Suite 300
                    Chicago, IL 60654-1607
       26d.6.       Trumbull Shopping Center #2 LLC
                    Attn: legal Department
                    2049 Century Park East
                    41st Floor
                    Los Angeles, CA 90067
       26d.7.       Southwest Plaza L.L.C.
                    PO Box 772808
                    Chicago, IL 60677

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 12

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 Debtor      SeaQuest Holdings, LLC                                                                     Case number (if known)



               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Elizabeth Bennis
       .                                                                                     11/30/2024              $210,323.78

               Name and address of the person who has possession of
               inventory records
               SeaQuest Holdings, LLC
               5759 N Discovery Way
               Boise, ID 83713-1613


       27.2 Elizabeth Bennis
       .                                                                                     6/26/2024               $197,495.92

               Name and address of the person who has possession of
               inventory records
               SeaQuest Holdings, LLC
               5759 N Discovery Way
               Boise, ID 83713-1613


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See attached list                             ID




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Vince Covino
       .    5173 N Brookmeadow Way                                                                                       12/2023 -          Salary & Consulting
               Boise, ID 83713                                  128077.59                                                11/2024            Fees

               Relationship to debtor
               CEO and Consultant


       30.2 Aaron Neilsen
       .    7896 W Deerfawn Ln                                                                                           12/2023 -
               Eagle, ID 83616                                  225000.00                                                11/2024            Salary

               Relationship to debtor
               CFO/CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
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            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    SeaQuest Holdings, LLC                                                                                     EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          December 2, 2024

 /s/    Aaron Neilsen                                                     Aaron Neilsen
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 14

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                                           6. Setoffs (90 days)
Name and Address of Creditor                                        Date of Setoff   Amount of Setoff
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                  $500.00
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                $1,000.00
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                $1,500.00
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                  $500.00
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024               $1,332.41
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                $1,799.92
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024                 $141.02
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024               $1,341.02
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                $1,900.00
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024                  $16.37
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024                 $614.67
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               9/27/2024                  $223.83
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/15/2024               $1,091.80
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/16/2024               $1,318.12
JPMorgan Chase Bank, PO Box 182051 Columbus, OH 43218               10/16/2024                 $131.43
CREDITOR TOTAL:                                                                             $13,410.59
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    9/12/2024                  $115.65
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    9/30/2024                   $40.75
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    9/30/2024                   $28.54
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    9/30/2024                   $53.08
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    10/9/2024                   $69.71
Divvy Inc. 6220 America Center Drive Suite 100 San Jose CA 95002    10/18/2024                  $88.83
CREDITOR TOTAL:                                                                                $396.56
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $497.13
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                  $271.76
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $884.71
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                $4,667.76
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $239.93
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                  $132.10
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $214.45
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                  $152.69
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $252.37
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                  $127.02
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $473.96
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                   $17.89
Ramp 28 West 23rd Street Floor 2 New York New York 10010            8/31/2024                  $228.49
Ramp 28 West 23rd Street Floor 2 New York New York 10010            9/30/2024                  $107.81
CREDITOR TOTAL:                                                                              $8,268.07
GRAND TOTAL:                                                                                $22,075.22
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                                                             United States Bankruptcy Court
                                                                        District of Idaho
 In re      SeaQuest Holdings, LLC                                                               Case No.
                                                                                Debtor(s)        Chapter      11




                                              VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:        December 2, 2024                                       /s/ Aaron Neilsen
                                                                      Aaron Neilsen/CEO
                                                                     Signer/Title




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                            Aaron Neilsen
                            7896 W Deerfawn Ln
                            Eagle, ID 83616


                            Aloha Animal Hospital
                            7341 South Torrey Pines Drive
                            Las Vegas, NV 89164


                            Anderson Veterinary Service, P.A.
                            PO Box 158
                            Zumbrota, MN 55992


                            Animal Health Diagnostic Lab
                            P.O. Box 330
                            Trenton, NJ 08625


                            Ari Roth
                            108 Bryan Avenue
                            Roseville, CA 95661


                            Ashleigh Belfiore
                            19706 Rosewood Ct
                            Las Vegas, NV 89139


                            Ashley Johnson
                            6614 Blue Dia Apt 1076
                            Las Vegas, NV 89139


                            Aspen Longwell
                            2117 S Dorothy Ave
                            Boise, ID 83706


                            Assured Pest Control dba Pestmasters
                            504 West 9460 South
                            Sandy, UT 84070


                            Avalon Apparel, Inc.
                            2963 44th Ave N.
                            Saint Petersburg, FL 33714


                            AXIS Surplus Insurance Company
                            P.O. Box 4470
                            Alpharetta, GA 30023


                            Barlow Service Experts
                            2869 Commerce Way, #1
                            Ogden, UT 84401


                            Barry Owen Co.
                            5625 Smithway St.
                            Los Angeles, CA 90040


                            BenefitHub
                            4030 W Boy Scout Blvd, Suite 400
                            Tampa, FL 33607
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                            Bionic Zoo & Aquarium
                            95 NW 13th Ave
                            Pompano Beach, FL 33069


                            Boulevard Ventures LLC
                            3528 S Maryland Pkwy
                            Mall Management Office
                            Las Vegas, NV 89169


                            Boulevard Ventures, LLC
                            c/o Sansone Companies
                            9017 S. Pecos Road, Suite #4500
                            Henderson, NV 89074


                            BOWCO Laboratories
                            75 Freeman St
                            Woodbridge, NJ 07095


                            Brine Shrimp Direct
                            P.O. Box 3044
                            Ogden, UT 84401


                            Broadstone Land, LLC
                            c/o TRI Property Management Services
                            410 Palladio Parkway, Suite 1601
                            Folsom, CA 95630


                            Broadstone Land, LLC
                            340 Palladio Parkway, Suite 521
                            Folsom, CA 95630-8574


                            CandyMachines.com
                            579 Folly Road
                            Box 13298
                            Charleston, SC 29412


                            Carbon Bulk Sales LLC
                            1791 Kaiser Ave
                            Irvine, CA 92614


                            Cash Value Lending Corporation
                            STE 300
                            2929 W Navigator Dr
                            Meridian, ID 83642-8297


                            Centric Mechanical Services
                            2120 Hutton Dr., Suite 100
                            Carrollton, TX 75006


                            CenturyLink
                            P.O. Box 2961
                            Phoenix, AZ 85062-2961


                            CenturyLink
                            PO Box 52187
                            Phoenix, AZ 85072-2187
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                            Chloe West


                            Cintas Corp
                            P.O. Box 88005
                            Chicago, IL 60680-1005


                            Cintas Corp
                            P.O. Box 630803
                            Cincinnati, OH 45263-0803


                            Citi
                            PO Box 790046
                            Saint Louis, MO 63179


                            Clear Lakes LLC
                            c/o NAU Select
                            PO Box 4067
                            Boise, ID 83711


                            Clear Lakes, LLC
                            c/o NAI Select
                            P.O. Box 4067
                            Boise, ID 83711


                            Coastal States Bank
                            5 Bow Circle
                            Hilton Head Island, SC 29928


                            Comcast
                            PO Box 60533
                            City of Industry, CA 91716-0533


                            Cox Business
                            PO Box 53262
                            Phoenix, AZ 85072-3054


                            David Oliver
                            2007 W Sonoma Dr
                            Meridian, ID 83642


                            Deluxebase (USA) Inc
                            1201 N Orange Street
                            Suite #7050
                            Wilmington, DE 19801-1186


                            Desert Rose Capital Management
                            2929 W. Navigator, Suite 300
                            Meridian, ID 83642


                            Dianna Spain
                            4330 Greenwood Rd
                            Garden Valley, CA 95633


                            Divvy Inc.
                            6220 America Center Drive Suite 100
                            Alviso, CA 95002
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                            Elizabethtown Gas
                            PO Box 6031
                            Bellmawr, NJ 08099


                            Emma Howard
                            7678 E Lightfoot St
                            Nampa, ID 83687


                            Fairytale Cotton Candy Inc
                            1000 Grand Ave
                            West Des Moines, IA 50265


                            Family Fun & Games
                            dba CandyMachines.com
                            579 Folly Rd Box13298
                            Charleston, SC 29412


                            FedEx Freight
                            PO Box 21415
                            Pasadena, CA 91185-1415


                            Fiesta
                            Mahar Manufacturing Corp.
                            P.O. Box 735103
                            Dallas, TX 75373-5103


                            FinWise Bank
                            820 East 9400 Sputh
                            Sandy, UT 84094


                            GK Preferred Income II (Ridgmar) SPE LLC
                            1551 Kingsbury Partners SPE, LLC
                            1888 Green Oaks Road
                            Fort Worth, TX 76116


                            Hawks & Company
                            1000 Delsea Drive - Bldg A1
                            Westville, NJ 08093


                            Hayden Novak
                            413 E Vine St
                            Keller, TX 76248


                            Health Compass Inc.
                            8049 Barnoy Woods
                            Pittsford, NY 14534


                            Heng Taing


                            Idaho Power
                            P.O. Box 70
                            Boise, ID 83707
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                            Idaho State Tax Commission
                            Attn: Bankruptcy
                            PO Box 36
                            Boise, ID 83722-0410


                            Intermountain Gas Company
                            555 S Cole Rd
                            Boise, ID 83709


                            Internal Revenue Service
                            Centralized Insolvency Operation
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            Ixclary Sierra
                            C/O: David A. Klemm
                            Bailey & Galyen 1901 Airport Freeway
                            Dallas, TX 75207


                            Jacob Senft
                            19 Sachem Ct
                            Farmingville, NY 11738-2139


                            Jana Nyberg
                            4523 Meyers Court
                            Castle Rock, CO 80104


                            Jeff Cox
                            14601 Wen Jeff Lane
                            Caldwell, ID 83607


                            Jeremy McLamb
                            713 5th St Apt 209
                            West Sacramento, CA 95605-2666


                            Joe Amorebieta
                            578 N. Clearpoint Way
                            Eagle, ID 83616


                            JPMorgan Chase
                            1111 Polaris Pkwy
                            Columbus, OH 43240


                            K and M International, Inc.
                            DBA Wild Republic
                            7711 E Pleasant Valley Rd
                            Independence, OH 44131


                            Kade Walz


                            Katie Hastings
                            371 Old Highway Apt 306
                            Saint Paul, MN 55112-7729
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                            Kent Displays, Inc.
                            343 Portage Blvd
                            Kent, OH 44240


                            Ketter Environmental Services, LLC
                            P.O. Box 417468
                            Boston, MA 02241-7468


                            Kevin E. Dinius
                            5680 E Franklin St. Ste 130
                            Nampa, ID 83687-9012


                            Kevin E. Dinius
                            5680 E Franklin Rd
                            Ste 130
                            Nampa, ID 83687-9012


                            Kim Covino


                            Kim Covino
                            5173 N Brookmeadow Way
                            Boise, ID 83713


                            LaMotte Company
                            802 Washington Ave
                            PO Box 329
                            Chestertown, MD 21620


                            Larry Spain
                            11870 Cresthill Dr
                            Elk Grove, CA 95624-9645


                            Layton Hills Mall
                            CMBS, LLC
                            PO Box 8660
                            Carol Stream, IL 60197


                            Layton Hills Mall CMBS LLC
                            2030 Hamilton Place Boulevard
                            Chattanooga, TN 37421-6000


                            Legacy Consulting, Inc.
                            3363 E Presidential Drive STE 104
                            Meridian, ID 83642


                            Linda Sanders


                            Liquid Blue
                            6 Linelew Drive
                            Derry, NH 03038


                            Lisa Edwards
                            670 E Observation Dr
                            Meridian, ID 83642-4652
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                            Little-Morris, LLP
                            950 W. Bannock Street, Ste 1050
                            Boise, ID 83702


                            Liz Bennis
                            8580 Savanna Oaks Ln
                            Saint Paul, MN 55125


                            Lochridge Lending, Inc.
                            1175 N 4000 W
                            Rexburg, ID 83440


                            Lumen
                            PO Box 4918
                            Monroe, LA 71211-4918


                            MassMutual
                            PO Box 64340
                            Saint Paul, MN 55164-0340


                            McCarter & English
                            Four Gateway Center
                            100 Mulberry Street
                            Newark, NJ 07102


                            McCarter & English, LLC
                            Four Gateway Center
                            100 Mulberry Street
                            Newark, NJ 07102


                            Meagan Grand
                            10877 Witcher Mountain R
                            Guffey, CO 80820


                            Mia Alati
                            1409 S Manitou Ave
                            Boise, ID 83706


                            Michelle Case
                            Attn: Justin Randall
                            c/o: Glen J Lerner & Assoc    4795 S Duran
                            Las Vegas, NV 89147


                            Michelle Case
                            Attn: Justin G Randall
                            c/o ER Injury Attorneys    1700 S. Pavilio
                            Las Vegas, NV 89135


                            Middlesex Water Company
                            Customer Service Center
                            485C Route 1 South, Suite 400
                            Iselin, NJ 08830


                            Mimi Linch
                            713 5th St Apt 209
                            West Sacramento, CA 95605-2666
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                            Murray, Ziel & Johnston, PLLC
                            770 S Woodruff Ave
                            Idaho Falls, ID 83401


                            Namdar Realty Group
                            c/o Trumbull Mall Realty
                            150 Great Neck Road, Suite 304
                            Great Neck, NY 11021


                            National Benefit Services
                            430 W 7th Street, Suite 219494
                            Kansas City, MO 64105-1407


                            Nayax
                            11350 McCormick Road, Suite 1004
                            Hunt Valley, MD 21031


                            NJ Department of Agriculture
                            Animal Health Diagnostic Laboratory
                            P.O. Box 330
                            Trenton, NJ 08625


                            NVEnergy
                            6226 West Sahara Ave
                            Las Vegas, NV 89146


                            Oracle America Inc.
                            500 Oracle Parkway
                            Redwood City, CA 94065


                            Oradell Animal Hospital
                            580 Winters Ave
                            Paramus, NJ 07652-3902


                            Packaging Specialties
                            an S. Walter Packaging Company
                            PO Box 71225
                            Philadelphia, PA 19176-6225


                            Paradise Cay Publications
                            PO Box 29
                            Arcata, CA 95518


                            PG&E
                            Box 997300
                            Sacramento, CA 95899-7300


                            Plunkett's/Varment Guard
                            40 52nd Way Northeast
                            Minneapolis, MN 55421


                            PPF RTL Rosedale Shopping Center
                            C/O Morgan Stanley Real Estate Advisor,
                            18585 Broadway, 7th Floor
                            New York, NY 10036
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                          Precious Pets Animal Services
                          1478 Flintrock Rd
                          Henderson, NV 89014


                          Precision Waste Solutions
                          PO Box 678114
                          Dallas, TX 75267-8114


                          Ramp Payments Corporation
                          28 West 23rd Street Floor 2
                          New York, NY 10010


                          Rhode Island Novelty
                          PO Box 9278
                          Fall River, MA 02720


                          Ridgmar Mall
                          1888 Green Oaks Road
                          Fort Worth, TX 76116


                          RocketRez, Inc.
                          12A-40 North Gate Drive
                          Steinback, MB R5G 2T9, Canada


                          Rosedale Shopping Center
                          29974 Network Place
                          Chicago, IL 60673


                          S&D Law
                          Attn: Michael L. Schlepp
                          1550 Wewatta Street Floor 2
                          Denver, CO 80202


                          Sacramento Copy
                          3355 Myrtle Ave Ste 215
                          North Highlands, CA 95660


                          Safari Programs
                          8010 Westside Industrial Drive
                          Jacksonville, FL 32219


                          Sailthru, Inc.
                          11 Lea Avenue
                          Nashville, TN 37210


                          Sarah Meiers
                          598 E Easy St
                          Kuna, ID 83643


                          Shane Shimada
                          11700 W Charleston Blvd., STE 170-60
                          Las Vegas, NV 89135


                          Southwest Plaza L.L.C.
                          PO Box 772808
                          Chicago, IL 60677
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                          Southwest Plaza LLC
                          c/o Brookfield Properties
                          8501 W. Bowles Avenue
                          Littleton, CO 80123


                          Southwest Plaza, L.L.C.
                          c/o Southwest Plaza
                          110 N. Wacker Dr.
                          Chicago, IL 60606


                          Southwest Plaza, LLC
                          8501 West Bowles Ave
                          Littleton, CO 80123


                          Specialty Comp Insurance Solutions
                          2611 Internet Blvd., Suite 124
                          Frisco, TX 75034


                          Squire Boone Village
                          PO Box 711
                          New Albany, IN 47151


                          State of New Jersey
                          Division of Fire Safety
                          Bureau of Fire Code Enforcement   P.O. Bo
                          Trenton, NJ 08625-0809


                          Summerfields Animal Hospital, P.L.L.C.
                          4536 North Tarrant Parkway
                          Keller, TX 76244


                          Tabitha Thompson


                          Talkdesk, Inc.
                          440 N Barranca Avenue
                          Suite 4375
                          Covina, CA 91723


                          Tammy O'Shields
                          2209 East Cherokee Dr
                          Woodstock, GA 30188


                          Terri Collins-Brown


                          The Petting Zoo
                          8870 Greenwood Place STE A
                          Savage, MD 20763


                          The United Illuminating Company
                          7741 PO Boc 847818
                          Boston, MA 02150


                          T-Mobile Bankruptcy Team
                          PO Box 53410
                          Bellevue, WA 98015-3410
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                          Treasure Valley Family YMCA
                          805 W Franklin St
                          Boise, ID 83702


                          Truly Nolen Branch
                          050 6000 S. Eastern Ave 2E
                          Las Vegas, NV 89119


                          Truly Nolen Branch 050
                          6000 S Eastern Ave 2E
                          Las Vegas, NV 89119


                          Trumbull Mall Realty LLC
                          Attn: Martin Joseph Minnella
                          c/o Minnella, Tramuta & Edwards 40 Middl
                          Middlebury, CT 06762


                          Trumbull Shopping Center #2 LLC
                          Attn: legal Department
                          2049 Century Park East 41st Floor
                          Los Angeles, CA 90067


                          Trumbull Shopping Center #2 LLC
                          Westfield Trumbull
                          5065 Main Street
                          Trumbull, CT 06611


                          Trumbull Tax Collector
                          Attn: Donna Pellitteri
                          5866 Main Street Town Hall
                          Trumbull, CT 06611


                          U.S. Small Business Administration
                          1545 Hawkins Blvd, Suite 202
                          El Paso, TX 79925


                          U.S. Small Business Administration
                          1545 Hawkins Blvd., Suite 202
                          El Paso, TX 79925


                          United Behavioral Health dba Optum
                          PO Box 885897
                          Los Angeles, CA 90088-5897


                          United Healthcare
                          PO Box 94017
                          Palatine, IL 60094-4017


                          Urban Retail Properties LLC
                          111 East Wacker Drive
                          Suite 2400
                          Chicago, IL 60601


                          Vanessa Duran GK Preferred Income II
                          1888 Green Oaks Road
                          Fort Worth, TX 76116
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                          Vestis
                          2680 Palumbo Drive
                          Lexington, KY 40509


                          Vince Covino
                          5173 N Brookmeadow Way
                          Boise, ID 83713


                          Vince Phan
                          2519 S Hilton St
                          Meridian, ID 83642-5061


                          Vincenzo G Covino
                          5173 N Brookmeadow Way
                          Boise, ID 83713-1454


                          Waxie Sanitary Supply
                          P.O. Box 748802
                          Los Angeles, CA 90074-8802


                          Welliver & Associates, LLC
                          1776 Park Ave 4-405
                          Park City, UT 84060


                          Woodbridge Center
                          7855 Solution Center
                          Chicago, IL 60677


                          Woodbridge Center Property, LLC
                          c/o Woodbridge Center
                          350 N. Orleans St. Suite 300
                          Chicago, IL 60654-1607
